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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                   )
IN RE PHARMACEUTICAL INDUSTRY                      )
AVERAGE WHOLESALE PRICE                            )   MDL No. 1456
LITIGATION                                         )
                                                   )   Civil Action No. 01-12257-PBS
                                                   )
                                                   )   Judge Patti B. Saris
THIS DOCUMENT RELATES TO:
ALL ACTIONS                                        )
                                                   )


        DECLARATION OF DIRECT TESTIMONY OF DR. SUMANTH ADDANKI


        I, Sumanth Addanki, Ph.D., declare that:


I.    Qualifications

1. I am an economist and a Senior Vice President at National Economic Research Associates,

     Inc. (NERA). I hold AM and Ph.D. degrees in economics from Harvard University and have

     specialized in the study of industrial organization. I have published articles on industrial

     organization economics and have written articles on antitrust issues for the American Bar

     Association (ABA) and other like institutions. These institutions have also invited me to

     lecture and comment on the market impact of various marketing, pricing and intellectual

     property strategies employed by firms, in general as well as specifically in the

     pharmaceutical industry. I have testified by invitation before the Federal Trade Commission

     (FTC) on the analysis of competition in high technology industries.



2. I have consulted on many antitrust, intellectual property and commercial damages cases

     involving different industries, including agriculture, airlines, computer hardware and
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   software, electronic components, health care, newspaper, office products, oil and gas,

   tobacco, and tools and hardware among many others. In addition, I have consulted

   extensively in the pharmaceutical industry, analyzing the market impact of various pricing,

   marketing and intellectual property strategies; assessing the impact of mergers and

   acquisitions; studying the effect of suppressed or delayed generic competition; and assessing

   economic damages, among other assignments.



3. Some of my consulting assignments have led to my being qualified as an expert economist in

   Federal courts and testifying in those courts as an expert in the economics of industrial

   organization. I have also testified on the appropriate analysis of pharmaceutical markets in

   proceedings before the FTC.



4. My curriculum vitae, which is appended to this report as Exhibit 1, includes a list of all my

   publications within the preceding ten years and my testimony as an expert at trial or in

   deposition within the preceding four years.



5. For my services in this matter, Schering-Plough is being billed by NERA Economic

   Consulting at my hourly rate of $595.


II. Scope of Engagement and Investigation

6. Counsel for Schering-Plough Corporation (“Schering”) and Warrick Pharmaceuticals

   Corporation (“Warrick”) have asked me to analyze economic issues raised by various claims

   that the plaintiffs have advanced in this litigation, as well as to evaluate the opinions offered

   by the plaintiffs’ economic experts, Drs. Hartman and Rosenthal. Specifically, I was asked


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   to assess and comment upon: (1) whether Warrick and Schering had the incentive to, and

   did, manipulate AWP, as the plaintiffs and their experts assert; and (2) the methodology that

   the plaintiffs employ to assess liability and damages with respect to the Warrick and Schering

   drugs at issue.



7. In preparing this testimony, I (and economists working under my direction) have reviewed

   information from a variety of sources. These include documents produced in the course of

   this lawsuit, information from publicly available sources, deposition testimony, and

   discussions with company personnel. In addition, I have relied on my experience and

   training as an applied microeconomist and my experience in analyzing the pharmaceutical

   industry.


III. Summary of Opinions
     A. Executive Summary

8. None of the Schering or Warrick drugs fit the plaintiffs' theories of AWP manipulation. The

   plaintiffs' theory of liability is principally a theory that, in settings in which physicians both

   prescribe and dispense drugs, there could be an incentive to inflate the AWPs of those

   physician-dispensed drugs to increase net reimbursement to the physician and thereby

   influence his or her choice of drug. The Schering and Warrick drugs do not fit this theory for

   three reasons. First, no incentive to inflate AWPs exists for the Schering and Warrick drugs.

   This is because they are dispensed by pharmacies and are largely self-administered. Thus,

   the physician is not reimbursed for the drug and has no pecuniary interest in which drug is

   chosen. In addition, for the Schering branded drugs, the entity with an economic interest in




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   reimbursement—the pharmacy—has no ability to choose the drug that is dispensed; it must

   dispense the drug that is prescribed by the physician.



9. Second, as the Court has already noted, pharmacy-dispensed drugs are subject to market

   forces from other market participants that cause highly transparent pricing. Thus, another

   key element of plaintiffs' theory, secret discounting, simply does not exist. While Schering

   does have one drug—Intron-A—for which a minority of NDCs (6 of 27) may be physician-

   administered, it is clear that those NDCs are not singled out in any way for special

   treatment—their list prices and AWPs per unit are identical to those of the pharmacy-

   dispensed NDCs.



10. Third, there is also no incentive or ability to manipulate the AWPs of Warrick's generic drug,

   albuterol. The plaintiffs have conceded this point in the private market, acknowledging that

   the reimbursement of generics is generally constrained by MACs and is not a function of

   AWP. As to Medicare, the so-called “informal Nash equilibrium” theory makes no sense, as

   Dr. Rosenthal concedes. The plaintiffs argue that all of the manufacturers of albuterol within

   a J- code have an incentive to maintain an artificially high median AWP in order to influence

   pharmacy choice between albuterol and therapeutic competitors. However, as Dr. Rosenthal

   has acknowledged, pharmacies do not have a choice among therapeutic competitors; they

   must dispense the drug prescribed by the physician.



11. While there are other significant flaws and errors in the plaintiffs' theories and their experts'

   analyses, the reasons described above are sufficient to demonstrate that the plaintiffs’




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   theories of manipulation do not meet any economically reasonable standard of viability for

   any of the accused Schering and Warrick drugs. For the Court's convenience, I summarize

   below the specific features that apply to each drug.


           Summary Analysis of Accused Schering and Warrick Drugs

                                      Single- or
                         Dispensed    or Multi-
                                                       Remarks on Plaintiffs' Claims of AWP
Supplier     Product        By          Source         Manipulation
                                                       The plaintiffs claim damages for Class 2. No
            Albuterol                Multi-            economic incentive to manipulate AWP or "spread"
Warrick                  Pharmacy
             Sulfate                 Source            because of single-price reimbursement. No evidence
                                                       of AWP manipulation
                                                       The plaintiffs claim damages for Class 2. No economic
                                                       incentive to manipulate AWP because prescribing
                                     Single-
Schering     Temodar     Pharmacy                      physician has no pecuniary interest in “spread,” and
                                     Source
                                                       pharmacy must dispense what is prescribed. No
                                                       evidence of AWP manipulation.
                                                       The plaintiffs claim damages for Class 2 and, through
                                     Initially
                                                       1992, for Class 3. No economic incentive to
                                     Single,
                                                       manipulate AWP: during single source period,
                                     Multi-
Schering     Proventil   Pharmacy                      prescribing physician has no pecuniary interest in
                                     Source after
                                                       “spread”; during multi-source period, because of
                                     Generic
                                                       single-price reimbursement. No evidence of AWP
                                     Entry
                                                       manipulation.
                                                       The plaintiffs claim damages for Class 2. No economic
            Intron-A:
                                                       incentive to manipulate AWP because prescribing
             Smaller                 Single-
Schering                 Pharmacy                      physician has no pecuniary interest in “spread,” and
             Dosage                  Source
                                                       pharmacy must dispense what is prescribed. No
              Sizes
                                                       evidence of AWP manipulation.

            Intron-A:                                  The plaintiffs claim damages for Class 2 and Class 3.
                         Potentially
              Large                  Single-           Per-unit AWP identical to smaller, pharmacy-
Schering                 by
             Dosage                  Source            dispensed dosage sizes excluded from Class 3 by the
                         Physician
              Sizes                                    plaintiffs. No evidence of AWP manipulation.


     B.    Summary of the Plaintiffs’ Theory

12. It may be useful, before proceeding further, to summarize what the plaintiffs and Dr.

   Hartman have alleged. The essence of their claim, from an economic standpoint, boils down

   to this: when providers of pharmaceuticals are reimbursed for the drugs that they provide on


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   the basis of the drugs’ AWPs, manufacturers have incentives to, and do, artificially inflate

   the AWPs of their drugs to make them more attractive from the providers’ standpoint. As

   evidence of this, Dr. Hartman calculates a “spread”—basically the difference between the

   AWP and the price actually obtained by the manufacturer—and uses it as a bellwether

   indicator of this alleged AWP manipulation: if the “spread” for a given accused drug is “too

   high” in his view, that is enough for him to conclude that there was manipulation of that

   drug’s AWP. Then, he asserts that governmental payors such as Medicare—as well as third-

   party payors (TPPs) —were unaware of these “spreads” and were, therefore, paying much

   more in reimbursement than they would otherwise have paid for these drugs. Finally, he

   calculates damages.



13. The plaintiff’s theory is simply inconsistent with the market realities of the pharmaceutical

   industry as they relate to the Schering and Warrick drugs. Moreover, their test is simply

   inappropriate, and most important, the Schering and Warrick drugs at issue here simply do

   not show any sign of the sort of AWP manipulation that the plaintiffs allege.




IV. The Plaintiffs’ Test Based on “Spreads” is Inappropriate and Useless

14. To begin with, the plaintiffs’ focus on spreads is misplaced, because spreads evolve naturally

   over time for reasons that have nothing at all to do with the type of AWP manipulation

   alleged. Recall that Dr. Hartman’s spread is the difference between the AWP and the ASP—

   the average price actually obtained by manufacturers. Note first that the AWP of a branded

   product is a direct function of its list price: if a drug wholesaler such as McKesson orders a

   product from Schering, that wholesaler will be charged the list price—sometimes called the


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   wholesale acquisition cost (WAC) or net direct price (NDP)—which is formulaically related

   to the AWP so that AWP is 20 to 25 percent above WAC (there may also be a standard

   discount of 2.5 percent for prompt payment).



15. Next, let us consider what happens to a drug over its life. When new, it frequently represents

   a real improvement over existing therapies—perhaps even a medical breakthrough; as such,

   it has little, if any, therapeutic competition, so everyone who needs it gets prescribed it.

   Under these circumstances, there is no market pressure on the manufacturer to offer any

   discounts on the drug, and the price actually obtained by the manufacturer is probably quite

   close to the list price, the WAC, and the “spread” is going to be relatively small (i.e.,

   essentially the “spread” introduced by the formulaic difference between AWP and WAC—20

   to 25 percent).



16. As the drug ages, the competitive situation facing it will, inevitably, change. As with

   products in any market, the longer that the drug remains on sale, the more likely it is to have

   encountered entry from newer and better products, drugs that can do the same or better,

   therapeutically, as the aging drug. Then, the maker of this aging drug needs to make it more

   attractive to those ultimately paying for the drug; the most obvious way in which that is done,

   just as it is in so many other markets with which we are familiar in our daily lives, is via

   discounting. As the level of therapeutic competition increases, so does the discounting.



17. Note, though, that the discounting is targeted. Sales that are most sensitive to the price

   charged—i.e., where the customers’ purchases are most responsive to such discounting—




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   may be heavily discounted, even as many other sales may be made at or near list price. What

   this means, of course, is that it makes no sense simply to drop the list price. Rather, the

   discounting is targeted to where it will be most effective. And, that is exactly what we see in

   many other markets that are familiar to us as well. For instance, the list price of an airline

   ticket—the “Y” class undiscounted roundtrip coach fare from say, Boston to Miami—may be

   as high as $1,900; and, indeed, the business traveler who must fly at short notice may end up

   having to pay something very close to that fare. Other travelers, particularly budget-

   conscious vacationers and the like, will shop for—and find—much lower prices on the same

   “product”: coach-class travel from Boston to Miami. Much the same situation exists in the

   case of hotel rooms, and there are many other examples of selective discounting that can be

   found in our daily lives; indeed, targeted discounting is very much a part of our economy.



18. Returning to the case of our (hypothetical) aging drug, its list price is not likely to be cut to

   meet competition, because some portion of sales will continue to be made at list price; its

   AWP will not fall, because it is, of course, formulaically related to the list price. Rather, the

   degree of targeted discounting will increase; as a consequence, its ASP will, inevitably fall,

   and the “spread” calculated by Dr. Hartman will, inevitably, increase. And, this will happen

   even if there has been no AWP manipulation of the sort alleged by the plaintiffs. It is simply

   a matter of market economics and arithmetic. Note, moreover, that these “spreads” will

   grow, in that case, because of increased discounting, which is nothing other than price

   competition. Over a century of U.S. antitrust law and policy have explicitly recognized the

   value of price competition; it would be perverse, indeed, to condemn a product because its

   average price in the marketplace had fallen because of price competition.




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19. Once generic competition enters the market, spreads grow even more rapidly because of

   increasing price competition; as generic prices decline, spreads as a percentage of price can

   become quite large, although the dollar spreads at issue are usually small relative to dollar

   spreads on branded drugs.



20. Thus, I conclude that one simply cannot infer anything meaningful about whether AWPs

   were manipulated by looking at “spreads” because spreads can be high even if AWPs were

   never manipulated as alleged. Indeed, they can be high purely because of the benefits of the

   very price competition upon which our economic and antitrust policies place such high value.



21. And, in fact, Dr. Hartman’s claimed “liability” findings for the Schering drugs accused in

   this case—Proventil, Temodar and Intron-A—reveal the essential futility of his test. To

   begin with, each of the accused Schering products was sold predominantly at or near its list

   price, its WAC. This is presented in Exhibits 3A-C and 4. With the substantial sales being

   made at or near list price, it is easy to understand why Schering did not lower its list price—

   its WAC—but, instead, met competitive pressures using targeted, case-by-case discounting.

   Given that AWP is formulaically related to WAC according to industry standards, it is easy

   to see why Schering’s AWPs were not lowered either. Thus, “spreads” of the sort calculated

   by Dr. Hartman would, therefore, inevitably grow in response to competition, even if there

   were absolutely no manipulation afoot.




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22. Second, Dr. Hartman’s proposed “spread” test only finds “liability” in sporadic cases for the

    accused Schering drugs, indicating that the high “spreads” to which he alludes are the result

    of the natural market forces discussed above rather than any systematic manipulation

    scheme.



23. Finally, if “ASP” is recalculated more appropriately in light of Judge Saris’s recent ruling,

    “liability” based on Dr. Hartman’s approach largely vanishes, again illustrating the

    fundamental inadequacy of his approach. Judge Saris has ruled that AWP should be

    interpreted to mean the average price actually charged by wholesalers. 1 Of course,

    Schering—or, indeed, any other drug manufacturer—would not be privy to the prices that

    wholesalers actually charge for the products that they sell. However, it is reasonable to

    assume that the prices that they charge their customers are at least as high as the prices that

    the wholesalers themselves must pay. Therefore, I have calculated the average price that

    Schering charged for the accused products in its sales to full-line wholesalers, by far, the

    largest class-of-trade. This average price, of course, represents a lower bound on the prices

    actually charged by these wholesalers for products at issue.



24. Exhibits 11A-D show the result of substituting this average price—the lower bound on an

    actual average wholesale price—in place of Dr. Hartman’s “ASP”. Strikingly, Dr. Hartman’s

    findings of “liability” based on his “30 percent screen” largely vanish as a result.




1
In Re Pharmaceutical Industry Average Wholesale Price Litigation, M.D.L. No. 1456, Memorandum and Order,
Document 3299, November 2, 2006.



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25. In light of the foregoing, it should be clear that tests based on “spreads” are essentially

    useless. Therefore, I will suggest below a more appropriate test for AWP manipulation, one

    that is more capable of answering the question of whether AWPs were manipulated in the

    manner suggested by the plaintiffs. First, however, I will explain why, for the majority of

    drugs, the plaintiff’s theory makes no economic sense whatsoever.




V. The Plaintiff’s Theory Makes No Economic Sense

26. Again, the plaintiffs assert that Schering and Warrick artificially inflated the AWPs of the

    accused products so as to make these products more attractive to providers so that those

    providers would choose to supply those products rather than alternatives.



27. It will be useful to pause here and sketch out how drugs actually reach their ultimate

    consumers—the patients. For most self-administered drugs, the physician writes a

    prescription, which is then filled by a pharmacy. When there are a number of therapeutic

    alternatives available, the physician may select a remedy based, in part, upon the nature of

    the patient’s insurance coverage, but the physician has no economic incentive connected to

    the AWP of the drug, so even if the AWP were being manipulated, it would not have affected

    the choice of drug prescribed.



28. Once the drug is prescribed, if it is a branded drug, there is little, if anything, that the

    pharmacy can do but dispense the drug prescribed, regardless of the relative attractiveness or

    unattractiveness of the AWP of that drug. The pharmacist cannot substitute another product

    simply because its AWP is “more attractive.”


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29. Things are a little different when the prescribed drug is generic or has generic substitutes.

   Then, assuming no explicit instruction from the physician to “dispense as written,” the

   pharmacy can choose from among the same product offered by a variety of different generic

   suppliers.



30. Might this be an area where AWP manipulation of the sort alleged by the plaintiffs makes

   sense? Not generally, because when there are multiple sources of generic alternatives

   available, reimbursement for all of those products is frequently based on a single measure,

   not the individual products’ own AWPs! So, even if manipulation by a manufacturer

   resulted in changes in the reimbursement, which would be difficult for any individual

   manufacturer to effect, that change would apply to all the products, resulting in no advantage

   to the manufacturer who manipulated its AWP. Therefore, reimbursement based on

   measures like MAC, FUL, medians, and so on, ensure that no individual generic product can

   gain a competitive advantage by raising its AWP! Appendix A discusses this in more detail

   and also illustrates the difficulty, in any event, of attempting to manipulate a reimbursement

   measure like the median AWP.



31. So, for products that are prescribed by the physician and dispensed by a pharmacy, there is

   little scope for the alleged AWP manipulation to provide any competitive advantage for the

   products whose AWPs were allegedly manipulated. Of the Schering and Warrick products at

   issue, albuterol, Proventil, and Temodar are dispensed almost entirely in this manner. The

   only Schering product at issue that is administered by physicians to any significant extent is




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   Intron-A, in the a limited number of larger dosage sizes; the AWPs of the smaller dosages,

   which are typically dispensed by pharmacies, are the same per unit as the AWPs of the

   potentially physician-administered NDCs. For these products, again, the plaintiffs’ theory

   simply makes no economic sense at all: the sort of AWP manipulation alleged by the

   plaintiffs simply could not have offered any competitive advantage.



32. Although the plaintiff’s theory of manipulation fails from the outset because it makes no

   economic sense generally, I have examined AWPs for the Schering and Warrick products at

   issue here to test directly for evidence of any manipulation of the sort alleged by the

   plaintiffs. For reasons that I have already explained, I do not test the plaintiff’s theory using

   spreads because spreads can grow and be large for reasons having nothing to do with AWP

   manipulation. Spreads can be large purely because of price competition—exactly the sort of

   competition that our antitrust policies promote and foster.


VI. A More Appropriate Test for Manipulation

     A. Overview

33. In light of this, the right approach to ascertaining whether a manufacturer had actually

   manipulated its AWP in the manner alleged by the plaintiffs is to look directly at AWP: did

   the AWP of the product at issue move in ways that suggest manipulation? For example, did

   it exceed, or grow faster than, the AWPs of its competitors, particularly of competitor

   products that have NOT been accused in this suit. If it did not, it is hard to credit a theory of

   manipulation.




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34. I have carried out exactly such an examination and have reviewed the history of the accused

   products’ AWPs over time, an analysis that is reported more fully below. I find that the

   Schering products at issue compete in virtually every instance with therapeutic alternatives

   that are not accused and that have higher absolute AWPs or have AWPs that grow faster.

   Again, if the AWPs of the accused products were being manipulated as the plaintiffs allege, I

   would have expected them to have been higher, or to have grown faster, than the AWPs of all

   the therapeutic alternatives that have not been accused of AWP manipulation. That fact that

   the accused AWPs do not behave in this way indicates that there was no such manipulation

   going on, even for those few accused Schering products that might be dispensed by

   physicians. Likewise, the Warrick generic products at issue had AWPs that were largely

   static, unchanged from 1995 forward, not at the high end of the range of AWPs for the

   competitive set of generic products (accused as well as non-accused), and showed no

   evidence of responding to heightened competition in the manner implied by the plaintiff’s

   theory (i.e., by raising AWPs relative to their competitors).

     B.   Temodar, Proventil and Intron-A

35. I should stress that I have carried out this analysis of AWPs for all of the accused Schering

   products, even though the fact that they are largely pharmacy-dispensed should obviate the

   need for any such inquiry—because there is simply no incentive to try to manipulate the

   AWP or “spread” for a pharmacy-dispensed drug. Of the three accused Schering drugs, only

   one is administered by physicians to any appreciable extent: Intron-A, in the larger dosage

   sizes. Temodar and Proventil are almost entirely self-administered and dispensed through

   pharmacies. Proventil (and its generic equivalent albuterol sulfate) are reimbursed under

   Medicare Part B only because they are frequently administered with the use of a nebulizer—a



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   piece of durable medical equipment typically rented from the pharmacy at which the

   prescription is filled—not because they are physician-administered.



36. The larger dosage sizes of Intron-A are sometimes infused by physicians at the onset of

   secondary treatment for melanoma, conyloma and AIDS-related Kaposi’s Sarcoma; after the

   initial loading dose, it is injected by the patient using a "pen" purchased from a pharmacy.

   Not only do the AWPs for the potentially physician-administered NDCs move in a fashion

   inconsistent with the plaintiff’s manipulation theory, all of the Intron-A AWPs—across

   pharmacy-dispensed as well as potentially physician-administered dosage forms—move in

   identical ways, strongly refuting any suggestion that Schering had “targeted” the potentially

   physician-administered Intron-A NDCs for AWP manipulation (see Exhibits 2A and 2B).


37. In light of the foregoing, it should be clear that Schering had no incentive to inflate the AWP

   of Proventil or Temodar: physicians who prescribe it could not profit from the “spread” in

   the manner that the plaintiffs suggest. Similarly, pharmacies could not dispense Temodar or

   Proventil to fill prescriptions for other drugs, and, therefore, could not have been motivated

   by “spreads” to dispense these drugs. Nor could pharmacies have been motivated by

   “spreads” to dispense Intron-A because they must dispense the drug when it is prescribed and

   only then; those dosage forms that may be dispensed by physicians were priced identically to

   the pharmacy-dispensed NDCs, contradicting any suggestion that Schering had targeted the

   “physician-administered” NDCs for AWP “inflation.” All three products are sold largely at

   or near list price (WAC), so any “spreads” are the inevitable result of targeted discounting

   (see Exhibits 3A-C).




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38. To implement my direct test for AWP manipulation, I had to identify the therapeutic

   alternatives with which each accused Schering product competed, in order to evaluate

   whether the Schering product’s AWP grew faster or otherwise outpaced the AWPs of non-

   accused competitors. I examined Schering’s contracts with the trade to identify, for each

   accused Schering branded product, the therapies that were considered to be competitive with

   that product. The AWPs of the accused Schering products were then compared with the

   AWPs of those competitive products. Of course, with therapeutic equivalents, it is not

   necessarily the case that every NDC of a Schering product family competes directly with

   every NDC of each competitive product identified in the contracts. Nevertheless, the data

   reveal that for the vast majority of years, the accused Schering NDCs were outpaced in their

   AWP growth by another firm’s competing product, simply below it, or, that the Schering

   AWP was not changing at all. Of the 39 branded Schering NDCs accused, only 6 have any

   years for which one or the other of these situations does not apply. See, again, Exhibit 8.

   Again, the direct evidence from AWP movements is clear: the data do not support the notion

   that Schering was artificially inflating the accused products’ AWPs relative to non-accused

   products.

     C. Albuterol Sulfate

39. I have compared the behavior over time of the AWPs for Warrick’s accused albuterol NDCs

   with the AWPs of other, competing, albuterol products, both accused and non-accused. As

   Exhibits 5A-B, 6A-C and 7A-B show, the data reveal no evidence that Warrick has either

   inflated its AWP or benefited from a high AWP. Warrick's AWPs for the accused albuterol

   products, 0.5% and 0.083%, have typically been among the lower-priced products of this

   type. The AWPs for these albuterol products are generally at or below the median of the



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    prices of products with a similar product description.2 Even though Warrick's albuterol

    products had relatively low AWPs, their products often had a large share of the sales for

    products with comparable descriptions. For example, Warrick had one of the top two market

    shares for albuterol 0.5% based on IMS data. Warrick's market share was the largest and

    over 40 percent from 2000 to 2002, falling in the next two years. Similarly, Warrick had the

    second largest implied market share for its albuterol 0.083% products from 2000 to 2003

    based on IMS sales data, and the largest market share in 2004.

40. In addition to being relatively low, Warrick AWPs were largely static, once again

    contradicting the plaintiffs’ theory of AWP “leap-frogging”. Warrick AWPs have generally

    been static through most of the class period. Medispan data indicate that no AWP of

    Warrick's albuterol has been changed since 1995. Moreover, Warrick’s AWPs did not

    respond to significant changes in the competitive environment, including the introduction of

    several new products, some of which garnered substantial shares of sales after their

    introduction. For instance, Warrick did not adjust its AWP for albuterol 0.5% in the face of

    Nephron’s entry and a declining market share after 2002. Exhibit 5A is a chart of the sales

    shares for albuterol 0.5% from 2000 to 2004.3 While Warrick’s share is relatively large,

    Warrick does appear to be losing share to Nephron after it apparently enters the market in

    late 2001. Yet, despite Nephron’s entry at a higher AWP, and the loss of market share,

    Warrick did not increase its own AWP, as can be seen in Exhibit 5B. Moreover, Warrick’s

    AWP is among the lowest of those firms with substantial market shares. Similarly, Exhibit

2
 I note that the median shown here is not one that is available from any published source; rather it is one that I have
calculated as the median unit price AWP as reported by Medispan for all generic products of similar product
description and strength. Although reimbursement for generic albuterol could theoretically depend upon AWP of
Proventil—its branded counterpart—as a practical matter, the Proventil AWPs were substantially higher than the
median generic AWP.
3
 Exhibits 5A, 5B, 6A, 6B, and 6C also show the AWPs and sales shares for branded versions of the albuterol
products.



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   6A shows the sales shares for albuterol 0.083%. Again, Warrick has a large market share

   that is declining, and a static AWP, as can be seen in Exhibit 6B. Moreover, one can also

   see, in comparing Exhibits 6A and 6B, that Nephron lowered its AWP in 2002 and its market

   share increased. In short, the evidence on AWPs is utterly at odds with the plaintiffs' theory

   that Schering and Warrick “inflated” AWPs to drive share.



     D. Dr. Hartman’s Suggestion of a “Tacit Nash Equilibrium” is Both
        Unsupported and Inconsistent with the Plaintiff’s Theories of AWP
        Manipulation to Compete for Market Share

41. Dr. Hartman has conceded expressly that no individual generic manufacturer has any

   incentive to inflate its AWP. But, in what is arguably the most remarkable portion of his

   Supplemental Declaration of April 2006, and in a complete departure from the plaintiffs’

   longstanding theories of the case, Dr. Hartman seems to suggest, rather, that the AWP

   inflation involved a collusive scheme on the part of Defendants, and perhaps others.

   According to his new theory of the case, “all generic manufacturers of a given drug have the

   incentive to maintain the median AWP as high as possible, in order to increase the “spreads”

   of all manufacturers relative to potential alternative therapeutic competitors.” He also refers

   to the observed AWPs as being a “tacit Nash equilibrium.” It may be useful to debunk any

   misimpression created by this unnecessary misuse of economic jargon. In the simplest terms,

   a Nash equilibrium is just a state of affairs in which no participant has any incentive to

   modify his or her behavior given the behavior of every other participant. Therefore, calling a

   given marketplace outcome a Nash equilibrium is merely stating the obvious; any sustainable

   marketplace outcome is such an equilibrium. And, the use of the emotive word "tacit" adds

   no further meaning to this. To the extent that Dr. Hartman's musings are of any relevance



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   whatsoever, it can only be because of a suggestion that the observed outcome is a Nash

   equilibrium that arose from tacit collusion rather than from competitive forces. Apparently

   the plaintiffs, at this stage, seek to enunciate a theory of collusive behavior regarding AWPs,

   despite Judge Saris’s view that the plaintiffs’ “key” allegation was that manufacturers

   compete rather than conspire with each other.



42. Unfortunately, this theory is no more consistent with the economic incentives facing the

   manufacturers than is the plaintiff’s earlier version. That is because a higher median AWP

   cannot act as an incentive to the pharmacist not to dispense a competing "therapeutic

   alternative" to the prescribed generic drug: as I have already explained, the pharmacist does

   not have the option to substitute a completely different drug for the drug prescribed by the

   physician. So, for example, a pharmacist cannot dispense Singulair to fill a prescription for

   albuterol even though both can be used to treat asthma. The pharmacist may only choose

   which version of albuterol she or he will dispense. Thus, the notion that generic

   manufacturers of albuterol might collude or coordinate to make albuterol’s AWP or “spread”

   attractive relative to therapeutic alternatives simply makes no economic sense. Prescriptions

   for albuterol (or its branded versions) will not respond to such manipulation of AWP or

   “spread,” because physicians have no pecuniary interest in the spread or AWP, and

   pharmacies can only dispense what is prescribed!



43. In any event, tacit collusion is an unlikely explanation for the observed marketplace

   outcomes. The AWP data that I have seen—as well as marketplace realities—are

   inconsistent with the observed outcomes' being the result of tacit collusion. This is




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   unsurprising, because the economic underpinnings of any theory of tacit collusion are well

   known: the parties must be able to tacitly agree readily on an appropriate level for AWP; the

   parties must be able to tacitly agree readily on the degree to which deviations from the agreed

   price will be deemed permissible; and, there must be an effective way to accomplish targeted

   punishment of such deviations. None of those conditions are met here.



44. To begin with, the parties must agree that elevated AWPs are in their common best interest.

   Dr. Hartman appears simply to assume that this is the case. In fact, it is not. As I have

   explained, products like albuterol which are prescribed by physicians and dispensed by

   pharmacies present no particular incentive for their manufacturers to seek higher AWPs.

   Higher AWPs do not exert economic influence over prescribing decisions for albuterol, and

   higher AWPs do not benefit any one generic manufacturer at the expense of the others.



45. Even in the case of products prescribed and dispensed by physicians, generic manufacturers’

   incentives are neither self-evident nor necessarily aligned across manufacturers. Even if

   AWPs were elevated with a view towards shifting share from therapeutic substitutes, it is by

   no means clear that all—or even most—of the generic manufacturers of the molecule would

   regard that with equal favor. Of course, all of this remains purely hypothetical; Dr. Hartman

   has yet to furnish any analysis showing that such therapeutic substitution could even be

   realistic for any of the products at issue. Nor has he provided any evidence of collusion –

   tacit or otherwise – or any incentive to collude. In fact, manufacturers' incentives could

   easily be contrary to plaintiffs' theory. Among other things, their attitude towards such share

   diversion would depend upon their economic interest in those therapeutic substitutes. In light




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   of this, it is inherently implausible to suggest that generic manufacturers could tacitly agree

   on the appropriate AWPs for a given molecule.



46. Moreover, as an empirical matter, the AWPs for a given product span a range; it is difficult

   to visualize a collusive scheme that permits a range of prices, because it is then intrinsically

   unclear whether a particular AWP is within or outside the “permissible” range and who,

   among the alleged tacit conspirators, will make that determination. It is even more difficult

   to visualize a method of targeted punishment of violations, assuming that the parties could

   even agree upon what constitutes a violation—and assuming they could overcome the

   inherent difficulties in changing a median value. What form might the punishment take and

   who bears the cost of imposing it? Without effective means of policing the putative

   agreement, tacit collusion is inherently untenable.



47. Dr. Hartman further opines that the set of AWPs for generic drugs “are themselves all

   artificially inflated to the extent that the branded AWP against which the generic AWPs are

   set, is artificially inflated.” While it is generally true that generic AWPs are set in reference

   to branded AWPs, Dr. Hartman’s suggestion that albuterol AWPs are high because they were

   set in reference to an artificially inflated Proventil AWP has no basis in fact or logic, in large

   part because there is no basis to suppose that Proventil’s AWP was artificially inflated in the

   first instance. As I have already pointed out, Proventil's AWP is formulaically related to its

   WAC, and over the class period, substantial amounts of Proventil were sold at prices at or

   near WAC (i.e., within the standard industry “prompt pay” discount of 2 percent from

   WAC); therefore, it would have been economically irrational for Schering to lower its list




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   price (i.e., its WAC and AWP) for Proventil—quite apart from any AWP “manipulation”—

   precisely because a very sizeable proportion of Proventil's sales were made at or near list

   price. The WAC represents the closest thing to a “list price” in the branded pharmaceutical

   industry.



48. Again, even though it is reimbursed under Medicare Part B, Proventil is a self-administered

   drug purchased at pharmacies. Inflating its AWP makes no difference to physicians’

   economic incentives to prescribe it, so Schering had no economic incentive to engage in such

   inflation. Moreover, Proventil was in competition with other branded albuterol drugs,

   Ventolin and Airet, and Dr. Hartman himself concedes that “all drug manufacturers,

   particularly innovator drug manufacturers, use [list prices as signals] to strategically place

   drug products in the market.” Thus, it was the competition between these branded products

   that would have set Proventil’s pricing, not any AWP inflation scheme of the sort suggested

   by Dr. Hartman.




VII. There is Ample Public Knowledge on “Spreads” of the Magnitude of
     which the Plaintiffs Complain
     A. Dr. Hartman’s Theory

49. I turn now to another of the plaintiff’s allegations regarding “spreads,” the allegation that

   payors were unaware of the extent of these spreads and that they were, therefore, being

   “fooled” into paying much more for these products than they otherwise would have.



50. Again, it may help to summarize what Dr. Hartman has done. He has opined that the spreads

   on some of these products were huge, deserving the title “mega spreads,” because of AWP


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   manipulation, that payors such as Medicare and Medicaid and others were simply unaware of

   the size of these spreads, and that, had they been aware of them, they would have adjusted

   their reimbursement down sharply.



51. I have examined the issue and have reached two conclusions. First, as I have already pointed

   out, spreads can be high for reasons having nothing whatsoever to do with AWP

   manipulation. Second, it is ridiculous to suggest that payors were unaware of the magnitudes

   of these spreads. I have pointed in my declaration at the summary judgment phase to 33

   different published sources, many government studies focused on the cost of reimbursement,

   that discuss spreads for drugs, including several that specifically discuss albuterol—the only

   Warrick product at issue—that are very much in line with the “spreads” Dr. Hartman

   calculates. Dr. Hartman himself, in his Direct Testimony, acknowledges public awareness of

   these “spreads.” I find it incomprehensible that Dr. Hartman still maintains that payors were

   unaware of the magnitudes of the spreads in light of these publications.



52. Indeed, it appears that BCBS/MA, the lead plaintiff in this case and an obviously

   sophisticated party is not only aware of the existence and magnitude of spreads, but has

   contributed to the creation of spreads of the type Dr. Hartman refers to as "mega spreads"

   through aggressive price negotiations by its staff model HMO directly with pharmaceutical

   manufacturers who are defendants in this case. BCBS/MA has not changed its own

   reimbursement methodology to some basis other than AWP. Moreover, BCBS/MA is even

   now in the process of moving other parts of its business to an AWP-based system of

   reimbursement.




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      B.    The State of Public Knowledge Was Inconsistent with “Spread
            Manipulation”

53. More generally, industry observers and participants were well aware of the implications of

    the interplay of supply and demand forces for the “spreads” that might obtain in the

    pharmaceutical industry. The plaintiff’s theory of “AWP manipulation” or “spread

    manipulation” is especially perplexing in light of this public awareness. The essence of any

    theory of manipulation of the “spread” must be that the perpetrator successfully concealed

    the true magnitude of the “spread”; the question of what the government and other payors—

    the market participants of interest—knew or should have known is of paramount importance.

    But very sizeable “spreads” were publicly known to exist for albuterol sulfate, for instance,

    “spreads” certainly far greater than the levels that Dr. Hartman concludes represented the

    outside limits of the market’s awareness or expectations regarding “spreads.”



54. A substantial body of public knowledge—found in government publications as well as in

    commentaries by industry observers and participants—made it clear that very substantial

    “spreads” existed between the AWPs and prices received in the distribution chain of many

    drugs, including Warrick’s albuterol sulfate.



55. Government studies and other reports published in 1989, 1992, 1996, 1997, 1998, 1999,

    2000, 2001, 2002, 2003 and 2004 exposed the existence of spreads as high as 99 percent of

    AWP.4 If one defers to Dr. Hartman’s preference for calculating them as percentages of


4
 Included in these reports are the “various OIG reports” that Dr. Hartman refers to himself. “Declaration of
Raymond S. Hartman in Support of Plaintiffs’ Claims of Liability and Calcu[l]ation of Damages,” December 15,


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    “ASP” (which are inevitably going to appear much larger), this translates into a spread of

    9,900 percent of “ASP.” 5 Exhibit 9A lists some of the sources that report these spreads.

    Exhibit 9B shows these data as bar charts.



56. Exhibit 9A contains data from a range of studies, dating from 1996 to 2004, which report

    upon the spreads prevailing for albuterol sulfate; as early as 1996, spreads of 65 percent of

    AWP were reported by the OIG—spreads that are roughly three times the highest threshold

    espoused by Dr. Hartman.6 These data are represented as a bar chart in Exhibit 9B. Indeed,

    the picture is even more striking if one re-calculates these spreads based on his preferred

    “percentage of ‘ASP’” approach. In that case, the spreads reported as early as 1996 were

    nearly 190 percent of “ASP,” which is over six times the 30 percent threshold that Dr.

    Hartman urges. Again, to suggest, in this context, that government, policy makers or

    industry participants could not have been aware of spreads larger than 30 percent of “ASP” is

    simply ridiculous. Such entities knew, or should have known, that the true spreads were



2005, p. 16. There are at least 36 public documents that report spreads, at least 23 of which appear to report original
results. See Exhibit 2 in my declaration, Declaration of Sumanth Addanki (March 21, 2006).. The manner in which
the plaintiff’s expert calculates, presents and discusses “spreads” is, at the very least, confusing. The problem with
the plaintiff’s apparent “spreads” based on “ASP” is that a good deal of the published literature that studies the
spreads between “ASP” and AWP has expressed these quantities as percentages of AWP; comparing the plaintiff’s
numbers to these published benchmarks cannot be done without first converting all of the numbers to a common
base—percentages of either “ASP” or AWP. Of some 36 publications containing information on spreads, 25
reported the spread on an AWP or “price” base, 3 reported the spread on an “ASP” or “cost” base, and 8 reported
spreads either in dollar terms or as a ratio. Thus, of the 28 publications that reported spreads in percentage terms, 89
percent of these reported the spread on an AWP base. Similarly, of the 17 studies that apparently reported original
research on spreads in percentage terms, 15 reported the spread on an AWP base, while only 2 reported spreads on
an “ASP” base.
5
  See, e.g., “Medicaid Pharmacy: Actual Acquisition Cost of Generic Prescription Drug Products,” Department of
Health and Human Services, Office of Inspector General, August 1997, and “Medicaid Pharmacy – Actual
Acquisition Cost of Brand Name Prescription Drug Products,” Department of Health and Human Services, Office of
Inspector General, August 2001.
6
  The earliest study to report albuterol spreads was conducted from January 1, 1994 to February 28, 1995 but these
results were not published until 1996. (“Suppliers’ Acquisition Costs For Albuterol Sulfate,” Department of Health
and Human Services, Office of Inspector General, June 1996, OEI-03-94-00393. Def. Ex. 1065.)



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    substantially higher than that. By 1998, spreads as high as 85 percent of AWP, or about 550

    percent of “ASP” were reported for albuterol, as shown in Exhibits 9A and 9B.

      C. Reimbursement Is Set in a Larger Context

57. Given that these studies were obviously part of a broad public discussion, making it clear that

    there was quite widespread awareness of the differentials between AWPs and provider costs,

    one might well question why this awareness did not translate into changes in reimbursement

    rates (i.e., to shrink those “spreads” between reimbursement and provider acquisition costs).

    The answer is that governmental reimbursement rates for prescriptions drugs are set in a

    larger context, in which apparent “spreads” may be permitted to persist in the interest of

    better serving these programs’ broader goals. For instance, Medicare’s reimbursement for

    physician-administered drugs includes a payment for the drug as well as a fee for

    administering it and the government has been engaged for years in a debate with the health

    care community over the structure of this compensation. For example, HCFA concluded in

    2000 that Medicare under-compensated physicians for their provision of drug administration

    services and that drug payments above physicians’ acquisition costs were offsetting these

    shortfalls, making it economically feasible for physicians to continue to offer such services in

    their offices.7 What this implies, of course, is that it is meaningless to speak of “but-for”

    reimbursement rates for these drugs in a vacuum. If the reimbursement rates for the drugs

    are lowered, unless other compensation rates for administration services are raised

    correspondingly, physicians will have less incentive to continue to provide these services in-

    office. This is a matter of simple economics: if the payment for a service falls short of the

7
 “Reform of the Medicare Payment Methods for Cancer Chemotherapy,” American Society of Clinical Oncology,
May 2001, p. 10, (“It was not until 2000 that HCFA acknowledged for the first time that Medicare payments for
chemotherapy administration are too low. HCFA also concluded that its efforts to reduce drug payments should be
suspended until the administration payments were increased.”)



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    opportunity cost of providing it (i.e., the revenue that could be garnered from the best

    alternative use of the physician’s time and facilities), the physician will cease to offer that

    service. Should this happen, more patients will have to travel to hospitals for such treatment

    in their outpatient departments, resulting in higher costs to the Medicare system, and higher

    co-payments by the patients as well as increased inconvenience, travel time, treatment time

    and the like.8



58. If, on the other hand, Medicare were to offset the reduced drug reimbursement rates by

    increasing its compensation for the administrative services involved, the effect would be

    similar: Medicare payments and beneficiary co-payments for the drugs might be lowered, but

    payments and co-payments for the provision of the associated services would be increased;

    the net result cannot be predicted without considerably more analysis. 9 A decrease in

    pharmaceutical reimbursement can be more than offset by an increase in administrative

    service fees; for an illustration of this, see Exhibit 10, which shows reimbursement under

    alternative schemes for a 30-day supply of albuterol in the Medicare program.



59. In sum, governmental reimbursement rates for the various components of programs like

    Medicare are not set in isolation but are set in the larger context of these programs’ broader

    goals. It is overly simplistic to suggest that reimbursement rates for drugs could be lowered


8
  “Reform of the Medicare Payment Methods for Cancer Chemotherapy,” American Society of Clinical Oncology,
May 2001, p. 10, (“In 1991, when HCFA proposed to reduce drug payments to 85 percent of AWP, many of the
comments opposing the reduction cited the ‘shortfalls in chemotherapy administration payments’ and warned that
‘[w]ithout adequate compensation…many physicians would perform the service in hospital outpatient departments
at substantially higher costs.’”)
9
  In fact, when Medicare did lower the reimbursement rate for prescription drugs effective January 1, 2005, they
increased the dispensing fee paid to providers, in addition to adding furnishing and supplying fees. (Federal
Register, August 8, 2005, pp. 45846-48.)



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      without offsetting increases in other aspects of Medicare reimbursement and costs. I have

      pointed out ample evidence that government policy makers were well aware that providers

      would be unwilling to participate in a voluntary system in which they would lose money on

      the provision of pharmaceuticals, and that there were sometimes substantial differences

      between reimbursement rates for drugs and the prices actually paid for them. These

      differences could persist because they were viewed simply as the cost of ensuring that

      adequate numbers of providers were willing to participate in the program, ensuring in turn

      that patients would have reasonable access to care under the program. Thus, for instance, the

      goal of providing beneficiaries with the desired levels of access to pharmacies and physicians

      may be best served by permitting reimbursement rates for prescription drugs to reflect

      substantial apparent “spreads.”




VIII. Damages

60.       I have also reviewed Dr. Hartman’s damage calculations based on his spread analysis.

      For his damages under Medicare, Dr. Hartman asserts that AWP should have equaled ASP

      for the accused drugs. As I have explained, this simply ignores the reality in which Medicare

      reimbursement is set. He then attempts to justify this by asserting that damages under

      Medicare are specified “by statute,” which makes no sense because Medicare prescribes no

      such statutory damages. Dr. Hartman’s contention that AWP should have equaled ASP pre-

      dates Judge Saris’s ruling that the appropriate interpretation of “AWP” as used in the

      Medicare statute is the price actually charged by wholesalers. As I will explain below, his

      contention is just as invalid in light of Judge Saris’s ruling as it was prior to the ruling.




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61. In fact, the requirement that AWP equal ASP can only be even remotely sensible under the

   following assumptions: (1) Medicare would have reimbursed for the drugs at issue at

   providers' estimated acquisition cost (“EAC”) and (2) "ASP” could reasonably be used as a

   proxy for “EAC.” Neither assumption is valid, and Dr. Hartman offers neither empirical nor

   theoretical support for either of them.



62. First, the assumption that Medicare would have chosen to reimburse the accused products at

   provider acquisition cost is directly contrary to the history of Medicare reimbursement. To

   my knowledge, and Dr. Hartman offers no evidence to the contrary, Medicare has never

   reimbursed at acquisition cost. It used AWP-based measures for years in the face of

   abundant information that acquisition costs were substantially lower, and when it changed to

   an ASP-based form of reimbursement in 2005, it raised the fees for the dispensing of drugs

   such as albuterol. Indeed, total reimbursement for certain forms of albuterol appear to have

   increased in 2005 in the ASP-based Medicare regime over reimbursement under the previous

   AWP-based regime. So, there is simply no empirical basis for Dr. Hartman's assumption that

   Medicare would in fact have reimbursed providers at their acquisition costs without changing

   other terms of reimbursement in some way.



63. The second assumption, that ASP is a good proxy for EAC, is simply not a good assumption

   because ASP is the price paid by wholesalers, and EAC is the price at which wholesalers sell

   the drug to providers. Therefore, it fails to account for the margins earned by intermediaries

   in the pharmaceutical industry, including wholesalers.




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64. The fact is that insisting upon equating ASP with EAC leads to absurd conclusions. To begin

   with, there is only one AWP for any given drug NDC. Therefore, any reimbursement

   scheme that is tied to AWP, and many formulae are tied in that fashion, depends upon that

   one AWP. Note, further, that many reimbursement schemes pay providers and pharmacies

   an amount less than AWP. Indeed, other government programs themselves, such as

   Medicaid, reimburse at rates below the AWP.



65. The implications are immediate: if the “ASP” is what the manufacturer obtains for its sale of

   a given NDC, unless the remainder of the distribution chain is willing to suffer a loss on

   every single unit that it sells of that NDC, the AWP—only some fraction of which will be

   paid as reimbursement when the drug is dispensed—cannot possibly be as low as the “ASP.”

   For example, if we know that the manufacturer’s “ASP” for a unit sold is $2.00, the AWP

   cannot possibly equal $2.00, because if it did, and reimbursement is, say, at 90 percent of

   AWP, or $1.80, the rest of the distribution chain—wholesaler, distributor,

   pharmacy/provider—would have to absorb a loss on every unit sold! No rational economic

   agent would even carry the product under these circumstances.



66. If one were, in fact, to impose the requirement that AWP equal “ASP” no pharmaceutical

   product on the market would pass the test for liability that this requirement logically implies.

   Most drugs sold in the market are sold at transaction prices that, on average, are substantially

   below AWP—at least 20 to 25 percent less than AWP for branded drugs (for drugs that are

   sold at list price) with substantially greater discounts for generics (or branded drugs that are

   subject to therapeutic competition and, therefore, discounted from list price). Therefore, by




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   the plaintiffs’ assumption of equality, nearly every single NDC of every single

   pharmaceutical product on the market would be liable. However, the plaintiffs themselves

   have noted that of the thousands of NDCs on the market, only the handful identified and

   accused here are subject to the alleged manipulation scheme. As a simple matter of

   economics and logic, the plaintiffs’ assumption leads to a test that cannot discriminate those

   products that were subject to the alleged scheme from those that were not but, rather, simply

   declares that all products were liable. The assumption of equality cannot be valid under these

   circumstances and must be set aside.



67. In his damage calculations, Dr. Hartman attempts to disaggregate the sales of the accused

   Schering and Warrick products into various categories of payors in order to identify the

   volumes paid for by Medicare and Medicaid. Exhibit 974, which appears to be an

   attachment to a late iteration of Dr. Hartman’s analysis, states that “[f]or both albuterol and

   Proventil, NAMCS and NDTI data are unsuitable for the analysis” because these data “are

   constructed from physician office-based surveys which do not capture the NDCs used with

   nebulizers (durable medical equipment) that are at issue here.” Based on this dismissal of the

   very same data source that he relies upon for his disaggregation of other products’ sales, Dr.

   Hartman adopts the arbitrary rule that 58 percent of all sales of the relevant albuterol and

   Proventil NDCs were reimbursed by Medicare. In fact, however, his statement about the

   NDTI data is incorrect. The NDCs at issue here for Schering and Warrick are those relating

   to its 0.083% and 0.5% nebulizer products. I examined the data that Dr. Hartman claims

   were unsuitable and that found portions of the survey do, in fact, track these very products—

   Proventil and albuterol products in 0.083% and 0.5% concentrations. Based on these data,




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the portion of these drugs’ sales for which Medicare is a payor—calculated in the same

manner in which Dr. Hartman has estimated this percentage for other drugs—is markedly

smaller than the figures he arrives at by his alternative ad hoc method.

   I declare under penalty of perjury that the foregoing is true and correct. Executed on
   November 17, 2006.


                                                         _/s/ Sumanth Addanki__
                                                         Sumanth Addanki




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         APPENDIX A: Reimbursement for multi-source drugs based on the median

68. For most of the class period, reimbursement for multi-source drugs under Medicare Part B

     was based on a uniform measure such as the median AWP for the group rather than on

     individual AWPs.10 Given this, for most generic products, and certainly the generic products

     in this case, the plaintiffs’ theory of AWP manipulation makes no economic sense

     whatsoever. That is because when reimbursement for generic drugs is linked, for instance, to

     the median generic AWP, no individual manufacturer has any incentive to attempt to

     “inflate” its AWP, because it gets no benefit from such inflation. Should the median AWP

     not change, the “inflation” has no effect at all. Should the median AWP rise because of the

     “inflation,” there is no advantage to the manufacturer initiating the “inflation” in its AWP,

     because all generic competitors will be reimbursed at the new, higher, AWP. In this

     reimbursement scheme, there is simply no incentive to raise one’s AWP, because no

     competitive advantage can result from such an action.



69. Even setting aside the lack of any economic incentive to do so, the plaintiffs’ contention that

     generic manufacturers could meaningfully manipulate the reimbursement rate (e.g., the

     median AWP) is far-fetched indeed.11 By their very definition, medians are difficult to

     change and a scheme such as that proposed by the plaintiffs would have to rely on a


10
   Reimbursement between 1998 and 2003 was at the lower of the lowest branded AWP and the median AWP for
the group; as a practical matter, because branded AWPs are generally much higher than generic AWPs, the
reimbursement was at the median generic AWP. See, e.g., 56 FR 59502, §405.517, November 25, 1991; 63 FR
58814, §405.517, November 2, 1998; and 70 FR 59974, §405.517, October 13, 2005.
11
   See “Third Amended Master Consolidated Class Action Complaint Amended to Comply with Court’s Class
Certification Order,” ¶ 202, p. 56, (“[A]ny one generic manufacturer can only affect the median generic
reimbursement AWP for a product.”)



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   substantial degree of luck. A median is the middle value of a distribution of values ranked

   from lowest to highest. Unlike an average, the median does not change whenever one of the

   constituent values used to calculate it change. If a value above the median is increased, the

   median will not change. If a value below the median is reduced, the median will not change.



70. Moreover, if the values in the distribution are repeated, or, in this case, if more than one

   product has the same AWP, changes to the median are even less likely to ensue from a

   change in one of the constituent values. For example, if there were nine firms with the

   following distribution of prices, {10, 10, 10, 20, 20, 20, 30, 30, 30}, then the median price

   would be 20. If one of the firms pricing at 10, were to reduce its price to, say, 1, the

   distribution would become {1, 10, 10, 20, 20, 20, 30, 30, 30} and the median would still be

   20. Alternatively, if one of the firms pricing at 10 were to raise its price to 30, the

   distribution would become {10, 10, 20, 20, 20, 30, 30, 30, 30} and the median price would

   still be 20. Finally, even if one of the firms pricing at 20 were to change its price, say to

   reduce it to 10, the median price would not change. The distribution in this case would

   become {10, 10, 10, 10, 20, 20, 30, 30, 30} and the median would still be 20. Even this

   simple example is sufficient to show that it is difficult to conceive of any scheme by which

   medians can be manipulated by a firm acting unilaterally.




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                                                                                                  Exhibit 1
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            M.A. (Hons.), Economics, 1980

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                                                                     Exhibit 1
                                                              Sumanth Addanki




TESTIMONY:
               Briant Chun-Hoon and Carlo Guglielmino v. McKee Foods Corporation, a
               Tennessee corporation; and Does 1 through 100, inclusive, U.S. District Court for
               the Northern District of California, Case No. C05-00620 VRW (Deposition
               Testimony).

               DSMC Incorporated, v. Convera Corporation, and National Geographic Television
               Library, U.S. District Court for the District of Columbia, Case No. 1:01-cv-02284-
               EGS (Deposition Testimony)

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               Russell B. Taddiken, Scott A. Winslow, Kristofer M. Zuber, District Court for the
               State of Minnesota, Fourth Judicial District, Court File No.: 04-5065 (Deposition
               Testimony).

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               District of Delaware, Civil Action No. 03-776-KAJ (Deposition Testimony).

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               District of Delaware, Civil Action No. 01-801 (SLR).

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               of Colorado Civil Action No. 02-K-775 (Deposition Testimony).

               Sunny Fresh Foods, Inc. v. Michael Foods, Inc., et al., U.S. District Court of
               Minnesota Case No. 4-92-635 (Deposition Testimony)

               Jerry A. Workman, Workman AG Consultants, Inc., v. Terra International, Inc.;
               David E. Schramm; and James Corder, III, In the Superior Court of the State of
               Arizona in and for the County of Maricopa, No. CV 99-03543

               Fusion Lighting, Inc., v. Westinghouse Electric Corporation, Northrop Grumman
               Corporation and Edward H. Hooper, Circuit Court of Montgomery County, State of
               Maryland, Civil Action No. 209848V.

               Spear Pharmaceuticals, Inc., v. Geneva Pharmaceuticals, Inc., Novartis Consumer
               Health, Inc., Novartis Pharma Canada, Inc., and Novartis AG, U.S. District Court,
               Middle District of Florida, Fort Myers Division, Civil Action No. 2:01-CV-372-
               FTM-29DNF (Deposition Testimony).

               TI Group Automotive Systems (North America), Inc., v. VDO North America L.L.C.,
               et al., U.S. District Court for the District of Delaware, Civil Action No. 00-432-
               GMS.



NERA Economic Consulting                                                                              2
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                                                              Sumanth Addanki



               Rodolfo Di Massa, M.D., and Karl Nigg, individually and on behalf of Stenticor
               International Inc., v. Simon Stertzer, M.D., Michael Boneau, and Medtronic Arterial
               Vascular Engineering, Inc., Superior Court of Sonoma County, State of California,
               Case No. 222363 (Deposition Testimony).

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               America Home Products Corporation, Federal Trade Commission, Docket No.
               9297.


MANUSCRIPTS AND PUBLICATIONS:

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               Pharmaceutical Markets,” Antitrust Insights, National Economic Research Associates,
               Inc., 2005.

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               Insights, National Economic Research Associates, Inc., 2001.

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               Association, 2000

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               Overview,” Practising Law Institute, Intellectual Property Antitrust, June 1998.

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               they End?” National Economic Research Associates, White Plains, May 1997.

               “The Changing Nature of Competition -- Innovation and Technology Issues,”
               American Bar Association Section of Antitrust Law, CLE Institute, November 7-8,
               1996.


November 2006




NERA Economic Consulting                                                                             3
                                                                                                                                                                                                  Exhibit 2A
                                                                                                                                                                  Percent Change in Schering Intron-A Unit AWPs Between Consecutive Years
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                                                                                                                                                                                                  1991-2005
                                                                                                                                                                                                                                                           Unit AWPs
                                                                                                                            1991               1992              1993               1994              1995              1996               1997             1998            1999              2000               2001              2002         2003      2004      2005
                                                                              -----------------------------------------------------------------------------------------------------------------------------------------------------------------------------(Percent)-------------------------------------------------------------------------
                                                                      NDC              Drug Description                       (a)               (b)                (c)               (d)                (e)               (f)               (g)              (h)              (i)               (j)               (k)                (l)        (m)       (n)       (o)
                                                                      00085012002     INJ 5MU                                  3.9 %             6.0 %              6.5 %             4.0 %             5.5 %             4.5 %              3.0 %             3.0 %            2.0 %             7.0 %             7.5 %              4.0 %       -- %      -- %         -- %
                                                                      00085012003     INJ 5MU                                                                       6.5               4.0               5.5                --                 --                --               --                --                --                 --         --        --           --
                                                                      00085012004     INJ 5MU                                                                                         4.0               5.5                --                 --                --               --                --                --                 --         --        --           --
                                                                      00085012005     INJ 5MU                                                                                                                                                3.0                --               --                --                --                 --         --        --           --
                                                                      00085028502     INJ 25MU                                 3.9               6.0                6.5               4.0               5.5               4.5                3.0               3.0              2.0               7.0               7.5                4.0         --        --           --
                                                                      00085053901     INJ 50MU                                 3.9               6.0                6.5               4.0               5.5               4.5                3.0               3.0              2.0               7.0               7.5                4.0       14.8       4.0           --
                                                                      00085057102     INJ 10MU                                 3.9               6.0                6.5               4.0               5.5               4.5                3.0               3.0              2.0               7.0               7.5                4.0       14.8       4.0           --
                                                                      00085057106     INJ 10MU                                                                                        4.0               5.5               4.5                3.0                --               --                --                --                 --         --        --           --
                                                                      00085064703     INJ 3MU                                  3.9               6.0                6.5               4.0               5.5               4.5                3.0               3.0              2.0                --                --                 --         --        --           --
                                                                      00085064704     INJ 3MU                                  3.9               6.0                6.5               4.0               5.5               4.5                3.0                --               --                --                --                 --         --        --           --
                                                                      00085064705     INJ 3MU                                                    6.0                6.5               4.0               5.5               4.5                3.0               3.0              2.0               7.0               7.5                4.0         --        --           --
                                                                      00085068901     INJ 18MU                                                                                        4.0               5.5                --                 --                --               --                --                --                 --         --        --           --
                                                                      00085076901     INJ 25MU/5ML                                                                                    4.0               5.5               4.5                3.0                --               --                --                --                 --         --        --           --
                                                                      00085092301     INJ 10MU/2ML                                                                                    4.0               5.5               4.5                3.0                --               --                --                --                 --         --        --           --
                                                                      00085095301     INJ 18MU/3ML                                                                                                                        4.5                3.0                --               --                --                --                 --         --        --           --
                                                                      00085111001     INJ 18MU                                                                                                                                               3.0               3.0              2.0               7.0               7.5                4.0       14.8       4.0           --
                                                                      00085113301     INJ 25MU                                                                                                                                                                 3.0              2.0               7.0               7.5                4.0       14.8       4.0           --
                                                                      00085116801     INJ 18MU                                                                                                                                                                 3.0              2.0               7.0               7.5                4.0       14.8       4.0           --
                                                                      00085117901     INJ 10MU/ML                                                                                                                                                              3.0              2.0                --                --                 --         --        --           --
                                                                      00085117902     KIT 10MU/ML                                                                                                                                                              3.0              2.0               7.0               7.5                4.0       14.8       4.0           --
                                                                      00085118401     INJ 3MU/0.5                                                                                                                                                              3.0              2.0                --                --                 --         --        --           --
                                                                      00085118402     KIT 3MU/0.5                                                                                                                                                              3.0              2.0               7.0               7.5                4.0         --        --           --
                                                                      00085119101     INJ 5MU/0.5                                                                                                                                                              3.0              2.0                --                --                 --         --        --           --
                                                                      00085119102     KIT 5MU/0.5                                                                                                                                                              3.0              2.0               7.0               7.5                4.0         --        --           --
                                                                      00085123501     INJ 5MU PEN                                                                                                                                                                                                 7.0               7.5                4.0       14.8       4.0           --
                                                                      00085124201     INJ 3MU PEN                                                                                                                                                                                                 7.0               7.5                4.0       14.8       4.0           --
                                                                      00085125401     INJ 10MU PEN                                                                                                                                                                                                7.0               7.5                4.0       14.8       4.0           --
                                                                                                                                                                                                                           -- no growth
                                                                                                                Notes: - The unit AWPs used to calculate growth are as of June 30th for each year, based upon the last available price posted in the Medispan database.
                                                                                                                       - The NDCs used are all Schering Intron-A NDCs analyzed in the MDL.
                                                                                                                       - The percentage changes are rounded to the nearest tenth of a percent.
                                                                                                              Sources: - "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                                                                                                                       - "Declaration of Raymond S. Hartman in Support of Plaintiffs' Claims of Liability and Calcu[l]ation of Damages", 12/15/2005, Attachment J.
                                                                                                                       - Hartman Liability backup materials for the MDL.
                                                                                                                                                                                                                Exhibit 2B
                                                                                                                                                                                             Unit AWPs for Intron-A, Adjusted for Concentration
                                                                                                                                                                                                                                        1986-2004
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                                                                              NDC 2         Drug Description   Concentration 3                                                                                                                                                       Unit AWPs 1
                                                                                                                                                6/1/1986             5/4/1988        11/18/1988          12/14/1990          1/29/1991             3/31/1991           7/5/1991        1/2/1992               8/5/1992           1/7/1993            6/1/1993           1/4/1994            2/1/1995        3/1/1995   12/6/1995
----------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                   (a)                            (b)                  (c)                (d)                 (e)                 (f)                  (g)               (h)                (i)                 (j)                (k)                 (l)                (m)                 (n)             (o)          (p)
                                                                              00085012002   INJ 5MU                                5        $      8.16          $                  $                    $                  $      8.48            $               $                   $     8.99         $                  $      9.57         $                  $      9.96         $               $     10.50    $
                                                                              00085012003   INJ 5MU                                5                                                                                                                                      8.48               8.99                                   9.57                                   9.96                               10.50
                                                                              00085012004   INJ 5MU                                5                                                                                                                                                                             8.99               9.57                                   9.96                               10.50
                                                                              00085012005   INJ 5MU                                5
                                                                              00085028502   INJ 25MU                              25               8.16                                                                            8.48                                                      8.99                                   9.57                                   9.96                               10.50
                                                                              00085053901   INJ 50MU                              50                                                       8.16                                    8.48                                                      8.99                                   9.57                                   9.96                               10.50
                                                                              00085057102   INJ 10MU                              10               8.16                                                                            8.48                                                      8.99                                   9.57                                   9.96                               10.50
                                                                              00085057106   INJ 10MU                              10                                                                                                                                                                             8.99               9.57                                   9.96                               10.50
                                                                              00085064703   INJ 3MU                                3               8.16                                                                            8.48                                                      8.99                                   9.57                                   9.96                               10.50
                                                                              00085064704   INJ 3MU                                3                                    8.16                                                       8.48                                                      8.99                                   9.57                                   9.96                               10.50
                                                                              00085064705   INJ 3MU                                3                                                                           8.16                                    8.48                                  8.99                                   9.57                                   9.95                               10.50
                                                                              00085068901   INJ 18MU                              18                                                                                                                                                                             8.99               9.57                                   9.95                               10.50
                                                                              00085076901   INJ 25MU/5ML                           5                                                                                                                                                                                                                    9.57               9.96                               10.50
                                                                              00085092301   INJ 10MU/2ML                           5                                                                                                                                                                                                                    9.57               9.96                               10.50
                                                                              00085095301   INJ 18MU/3ML                           6                                                                                                                                                                                                                                                           9.95           10.50
                                                                              00085111001   INJ 18MU                              18                                                                                                                                                                                                                                                                                       10.50
                                                                                                                                        4
                                                                              00085113301   INJ 25MU                              10
                                                                                                                                        5
                                                                              00085116801   INJ 18MU                               6
                                                                              00085117901   INJ 10MU/ML                           10
                                                                              00085117902   KIT 10MU/ML                           10
                                                                              00085118401   INJ 3MU/0.5                            6
                                                                                                                                        6
                                                                              00085118402   KIT 3MU/0.5                            3
                                                                              00085119101   INJ 5MU/0.5                           10
                                                                                                                                        6
                                                                              00085119102   KIT 5MU/0.5                            5
                                                                                                                                        7
                                                                              00085123501   INJ 5MU PEN                           20
                                                                                                                                        7
                                                                              00085124201   INJ 3MU PEN                           12
                                                                                                                                        7
                                                                              00085125401   INJ 10MU PEN                          40
                                                                                                                                   Notes: -- Values in the table are rounded to the nearest hundredth.
                                                                                                                                            1
                                                                                                                                                Unit AWPs are shown by date posted on Medispan.
                                                                                                                                            2
                                                                                                                                                The NDCs used are all of the Schering Intron-A NDCs analyzed in the MDL.
                                                                                                                                            3
                                                                                                                                                The concentration is taken from the Drug Description unless otherwise specified. Where the Drug Description is listed as MU/ML or just MU/ , the numbers are divided to get the concentration.
                                                                                                                                            4
                                                                                                                                                Several sources have the drug description for this NDC as 10MIU/mL.
                                                                                                                                            5
                                                                                                                                                Several sources have the drug description for this NDC as 6MIU/mL.
                                                                                                                                            6
                                                                                                                                                The concentration values used for these two Intron-A Kits are 3 and 5, respectively, based on the strength values in the Drug Description (without dividing by the 0.5). This procedure holds for the 00085117902 Kit as well.
                                                                                                                                            7
                                                                                                                                                The Intron-A Product Information label explains that the Pens deliver 6 doses of the drug at the stated strength (3, 5 and 10 MU) at 1.5mL. The concentration is thus calculated by multiplying the stated strength by the 6 doses and diving by 1.5.
                                                                                                                                 Sources:       Intron-A Product Information Label (Interferon alfa-2b, recombinant, for Injection): http://www.spfiles.com/piintrona.pdf
                                                                                                                                                http://www.mahp.org/Policy/medicare/janupdates/8-02/Reference%20NDC%20File_CY2007_07-26-06.xls
                                                                                                                                                http://www.ligand.com/pdf/VTTargretin.pdf
                                                                                                                                                http://www.rxlist.com/cgi/generic4/introna_ids.htm
                                                                                                                                                "Declaration of Raymond S. Hartman in Support of Plaintiffs' Claims of Liability and Calcu[l]ation of Damages", December 15, 2005 (Attachment G.5.a)
                                                                                                                                                "Supplemental Declaration of Raymond S. Hartman in Support of Plaintiffs' Claims of Liability and Calculation of Damages: Addendum", February 3, 2006 (Attachment G.5.a)
                                                                                                                                                                                                                                          1 of 2
                                                                                                                                                                                                               Exhibit 2B
                                                                                                                                                                                            Unit AWPs for Intron-A, Adjusted for Concentration
                                                                                                                                                                                                               1986-2004
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                                                                              NDC 2         Drug Description   Concentration 3                                                                                                                                                      Unit AWPs 1
                                                                                                                                                2/1/1996          4/20/1996          1/10/1997             4/3/1998            7/2/1998            3/23/1999       11/2/1999         4/26/2000           11/8/2000           2/15/2001          8/22/2001           9/11/2002          12/4/2002        3/13/2003       1/6/2004
---------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                  (q)                              (r)                (s)                 (t)                (u)                 (v)                  (w)              (x)                (y)                 (z)               (aa)                (ab)               (ac)                (ad)             (ae)          (af)
                                                                              00085012002   INJ 5MU                                5        $                    $   10.98          $    11.30         $     11.64         $                   $     11.88        $   12.11          $    12.71         $    13.33          $   13.66          $    14.21          $                  $                 $           $
                                                                              00085012003   INJ 5MU                                5
                                                                              00085012004   INJ 5MU                                5
                                                                              00085012005   INJ 5MU                                5              10.50              10.98               11.30
                                                                              00085028502   INJ 25MU                              25                                 10.98               11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21
                                                                              00085053901   INJ 50MU                              50                                 10.98               11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21              15.10               15.55            16.31         16.97
                                                                              00085057102   INJ 10MU                              10                                 10.98               11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21              15.10               15.55            16.31         16.96
                                                                              00085057106   INJ 10MU                              10                                 10.98               11.30
                                                                              00085064703   INJ 3MU                                3                                 10.98               11.31               11.64                                   11.88
                                                                              00085064704   INJ 3MU                                3                                 10.98               11.31
                                                                              00085064705   INJ 3MU                                3                                 10.97               11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21
                                                                              00085068901   INJ 18MU                              18
                                                                              00085076901   INJ 25MU/5ML                           5                                 10.98               11.30
                                                                              00085092301   INJ 10MU/2ML                           5                                 10.98               11.30
                                                                              00085095301   INJ 18MU/3ML                           6                                 10.97               11.30
                                                                              00085111001   INJ 18MU                              18                                 10.97               11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21              15.10               15.55            16.31         16.96
                                                                                                                                        4
                                                                              00085113301   INJ 25MU                              10                                                     11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21              15.10               15.55            16.31         16.97
                                                                                                                                        5
                                                                              00085116801   INJ 18MU                               6                                                     11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21              15.10               15.55            16.31         16.96
                                                                              00085117901   INJ 10MU/ML                           10                                                     11.30               11.64                                   11.88
                                                                              00085117902   KIT 10MU/ML                           10                                                     11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21              15.10               15.55            16.31         16.97
                                                                              00085118401   INJ 3MU/0.5                            6                                                     11.31               11.64                                   11.88
                                                                                                                                        6
                                                                              00085118402   KIT 3MU/0.5                            3                                                     11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21
                                                                              00085119101   INJ 5MU/0.5                           10                                                     11.30               11.64                                   11.88
                                                                                                                                        6
                                                                              00085119102   KIT 5MU/0.5                            5                                                     11.30               11.64                                   11.88            12.11               12.71              13.33              13.66               14.21
                                                                                                                                        7
                                                                              00085123501   INJ 5MU PEN                           20                                                                                             11.64               11.88            12.11               12.71              13.33              13.66               14.21              15.10               15.55            16.31         16.97
                                                                                                                                        7
                                                                              00085124201   INJ 3MU PEN                           12                                                                                             11.64               11.88            12.11               12.71              13.33              13.66               14.21              15.10               15.55            16.31         16.96
                                                                                                                                        7
                                                                              00085125401   INJ 10MU PEN                          40                                                                                             11.64               11.88            12.11               12.71              13.33              13.66               14.21              15.10               15.55            16.31         16.97
                                                                                                                                   Notes: -- Values in the table are rounded to the nearest hundredth.
                                                                                                                                            1
                                                                                                                                                Unit AWPs are shown by date posted on Medispan.
                                                                                                                                            2
                                                                                                                                                The NDCs used are all of the Schering Intron-A NDCs analyzed in the MDL.
                                                                                                                                            3
                                                                                                                                                The concentration is taken from the Drug Description unless otherwise specified. Where the Drug Description is listed as MU/ML or just MU/ , the numbers are divided to get the concentration.
                                                                                                                                            4
                                                                                                                                                Several sources have the drug description for this NDC as 10MIU/mL.
                                                                                                                                            5
                                                                                                                                                Several sources have the drug description for this NDC as 6MIU/mL.
                                                                                                                                            6
                                                                                                                                                The concentration values used for these two Intron-A Kits are 3 and 5, respectively, based on the strength values in the Drug Description (without dividing by the 0.5). This procedure holds for the 00085117902 Kit as well.
                                                                                                                                            7
                                                                                                                                                The Intron-A Product Information label explains that the Pens deliver 6 doses of the drug at the stated strength (3, 5 and 10 MU) at 1.5mL. The concentration is thus calculated by multiplying the stated strength by the 6 doses and diving by 1.5.
                                                                                                                                 Sources:       Intron-A Product Information Label (Interferon alfa-2b, recombinant, for Injection): http://www.spfiles.com/piintrona.pdf
                                                                                                                                                http://www.mahp.org/Policy/medicare/janupdates/8-02/Reference%20NDC%20File_CY2007_07-26-06.xls
                                                                                                                                                http://www.ligand.com/pdf/VTTargretin.pdf
                                                                                                                                                http://www.rxlist.com/cgi/generic4/introna_ids.htm
                                                                                                                                                "Declaration of Raymond S. Hartman in Support of Plaintiffs' Claims of Liability and Calcu[l]ation of Damages", December 15, 2005 (Attachment G.5.a)
                                                                                                                                                "Supplemental Declaration of Raymond S. Hartman in Support of Plaintiffs' Claims of Liability and Calculation of Damages: Addendum", February 3, 2006 (Attachment G.5.a)
                                                                                                                                                                                                                                          2 of 2
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                                        Exhibit 3A
                                   Distribution of Sales
                    by Percentage of WAC Paid by Schering Customers 1
                                                    Temodar 2
                                                    1991 - 2004

                  Percentage of WAC 3

               Greater        Less Than                                           Percent of
                 Than        or Equal To                  Sales                      Sales
------------------------(Percent)------------------------
                                ------------------------(Dollars)------------------------
                                                           ------------------------(Percent)------------------------
                   (a)            (b)                      (c)                        (d)

                    100                         $       18,463,636.01                 3.30 %
                     99             100                194,085,289.02                34.68
                     98              99                219,063,580.96                39.14
                     97              98                 82,298,391.45                14.71
                     96              97                  2,561,554.51                 0.46
                     95              96                 12,544,999.97                 2.24
                     90              95                  2,775,307.98                 0.50
                     85              90                  4,934,451.28                 0.88
                     80              85                  4,176,721.99                 0.75
                                     80                 18,754,799.73                 3.35

   Notes: - Sales exclude non-sales transactions, and do not include rebates found in the
            rebates files. If sales dollars for a particular NDC and customer number
            for the whole year were negative, they were dropped.

            1
                "ASP" is calculated by customer as identified by customer number.
            2
                The NDCs used were all Schering Temodar NDCs analyzed in the MDL
                (00085124401, 00085124402, 00085124801, 00085124802, 00085125201,
                00085125202, 00085125901, 00085125902).
            3
                WAC, which is calculated as AWP/1.2 until January 1, 2002 and AWP/1.25
                thereafter, is measured at the June 30th value of AWP. In cases where a product's
                first reported AWP occurs after June 30th, the first reported AWP is used.

 Sources:       Schering Sales Data.
                "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                "Declaration of Raymond S. Hartman in Support of Plaintiffs’ Claims of Liability
                and Calcu[l]ation of Damages," December 15, 2005.
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                                        Exhibit 3B
                                   Distribution of Sales
                    by Percentage of WAC Paid by Schering Customers 1
                                                     Intron-A 2
                                                    1991 - 2004

                  Percentage of WAC 3

               Greater        Less Than                                           Percent of
                 Than        or Equal To                  Sales                      Sales
------------------------(Percent)------------------------
                                ------------------------(Dollars)------------------------
                                                           ------------------------(Percent)------------------------
                   (a)            (b)                      (c)                        (d)

                    100                         $      255,654,934.57                12.10 %
                     99             100                370,317,472.93                17.52
                     98              99                747,876,047.92                35.38
                     97              98                198,441,552.79                 9.39
                     96              97                 57,162,167.54                 2.70
                     95              96                 28,316,567.21                 1.34
                     90              95                117,387,791.56                 5.55
                     85              90                157,163,598.68                 7.44
                     80              85                 69,015,010.87                 3.27
                                     80                112,235,468.28                 5.31

   Notes: - Sales exclude non-sales transactions, and do not include rebates found in the
            rebates files. If sales dollars for a particular NDC and customer number
            for the whole year were negative, they were dropped.

            1
                "ASP" is calculated by customer as identified by customer number.
            2
                The NDCs used were all Schering Intron-A NDCs analyzed in the MDL
                (00085012002,00085012003, 00085012004, 00085012005, 00085028502
                00085053901, 00085057102, 00085057106, 00085064703, 00085064704,
                00085064705, 00085068901, 00085076901, 00085092301, 00085095301,
                00085111001, 00085113301, 00085116801, 00085117901, 00085117902,
                00085118401, 00085118402, 00085119101, 00085119102, 00085123501,
                00085124201, 00085125401).
            3
                WAC, which is calculated as AWP/1.2 until January 1, 2002 and AWP/1.25
                thereafter, is measured at the June 30th value of AWP. In cases where a product's
                first reported AWP occurs after June 30th, the first reported AWP is used.

 Sources:       Schering Sales Data.
                "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                "Declaration of Raymond S. Hartman in Support of Plaintiffs’ Claims of Liability
                and Calcu[l]ation of Damages," December 15, 2005.
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                                        Exhibit 3C
                                   Distribution of Sales
                    by Percentage of WAC Paid by Schering Customers 1
                                                    Proventil 2
                                                    1991 - 2004

                  Percentage of WAC 3

               Greater        Less Than                                           Percent of
                 Than        or Equal To                  Sales                      Sales
------------------------(Percent)------------------------
                                ------------------------(Dollars)------------------------
                                                           ------------------------(Percent)------------------------
                   (a)            (b)                      (c)                        (d)

                    100                         $       77,180,713.09                 3.10 %
                     99             100                314,987,201.74                12.65
                     98              99                798,119,773.68                32.05
                     97              98                578,609,499.44                23.24
                     96              97                176,403,734.45                 7.08
                     95              96                114,369,160.54                 4.59
                     90              95                136,915,954.38                 5.50
                     85              90                 14,545,163.69                 0.58
                     80              85                 11,447,443.37                 0.46
                                     80                267,461,273.15                10.74

   Notes: - Sales exclude non-sales transactions, and do not include rebates found in the
            rebates files. If sales dollars for a particular NDC and customer number
            for the whole year were negative, they were dropped.

            1
                "ASP" is calculated by customer as identified by customer number.
            2
                The NDCs used are all Schering Proventil NDCs either analyzed in the MDL
                (00085020802, 00085020901, 00085133601 and 00085180601) or only accused
                in the MDL complaint (00085061402 and 00085061403).
            3
                WAC, which is calculated as AWP/1.2 until January 1, 2002 and AWP/1.25
                thereafter, is measured at the June 30th value of AWP. In cases where a product's
                first reported AWP occurs after June 30th, the first reported AWP is used.

 Sources:       Schering Sales Data.
                "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                "Declaration of Raymond S. Hartman in Support of Plaintiffs’ Claims of Liability
                and Calcu[l]ation of Damages," December 15, 2005.
                                                                                                                                                                                                            Exhibit 4
                                                                                                                                                                                            AWP/WAC Ratio for Branded Schering Products
                                                                                                                                                                                                           1992-2005
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                                                                                                                                                                                                                                                            AWP/WAC Ratios
                                                                                                                                                    1992               1993               1994               1995              1996               1997            1998        1999               2000              2001               2002                  2003     2004
                                                                             -----------------------------------------------------------------------------------------------------------------------------------------------------------------------------(Unit AWP)/(Unit WAC)-------------------------------------------------------------
                                                                      Drug Name              NDC                 Drug Description                     (a)               (b)                (c)                (d)               (e)                (f)             (g)         (h)                (i)                (j)               (k)                   (l)     (m)
                                                                      Intron-A                  00085028502        INJ 25MU                            1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085053901        INJ 50MU                            1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.25    1.25
                                                                                                00085057102        INJ 10MU                            1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.25    1.25
                                                                                                00085111001        INJ 18MU                                                                                                          1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.25    1.25
                                                                                                00085012002        INJ 5MU                             1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085012003        INJ 5MU                             1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085012004        INJ 5MU                                                 1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085064703        INJ 3MU                             1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085064704        INJ 3MU                             1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085064705        INJ 3MU                             1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085092301        INJ 10MU/2ML                                            1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085095301        INJ 18MU/3ML                                                                                   1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085116801        INJ 18MU                                                                                                                              1.20               1.20           1.20            1.20               1.20              1.20          1.25    1.25
                                                                                                00085117901        INJ 10MU/ML                                                                                                                           1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085117902        KIT 10MU/ML                                                                                                                           1.20               1.20           1.20            1.20               1.20              1.20          1.25    1.25
                                                                                                00085118401        INJ 3MU/0.5                                                                                                                           1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085118402        KIT 3MU/0.5                                                                                                                           1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085119101        INJ 5MU/0.5                                                                                                                           1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085119102        KIT 5MU/0.5                                                                                                                           1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085123501        INJ 5MU PEN                                                                                                                                                             1.20            1.20               1.20              1.20          1.25    1.25
                                                                                                00085124201        INJ 3MU PEN                                                                                                                                                             1.20            1.20               1.20              1.20          1.25    1.25
                                                                                                00085125401        INJ 10MU PEN                                                                                                                                                            1.20            1.20               1.20              1.20          1.25    1.25
                                                                                                00085012005        INJ 5MU                                                                                                           1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085057106        INJ 10MU                                                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085068901        INJ 18MU                                                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085076901        INJ 25MU/5ML                                            1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085113301        INJ 25MU                                                                                                                              1.20               1.20           1.20            1.20               1.20              1.20          1.25    1.25
                                                                      Proventil                 00085020802        NEB 0.5%                            1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.25
                                                                                                00085020901        NEB 0.083%                          1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                                                00085133601        NEB 0.5%                                                                                                                                                                                                                                           1.25
                                                                                                00085180601        NEB 0.083%                                                                                                                                                                                                                                 1.25    1.25
                                                                                                00085061402        AER 90MCG                           1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.25          1.25    1.25
                                                                                                00085061403        AER 90MCG RF                        1.20                1.20                1.20               1.20               1.20                1.20               1.20           1.20            1.20               1.20              1.20          1.20    1.20
                                                                      Temodar                   00085124401        CAP 20MG                                                                                                                                                                                1.20               1.20              1.25          1.25    1.25
                                                                                                00085124402        CAP 20MG                                                                                                                                                                                1.20               1.20              1.25          1.25    1.25
                                                                                                00085124801        CAP 5MG                                                                                                                                                                                 1.20               1.20              1.25          1.25    1.25
                                                                                                00085124802        CAP 5MG                                                                                                                                                                                 1.20               1.20              1.25          1.25    1.25
                                                                                                00085125201        CAP 250MG                                                                                                                                                                               1.20               1.20              1.25          1.25    1.25
                                                                                                00085125202        CAP 250MG                                                                                                                                                                               1.20               1.20              1.25          1.25    1.25
                                                                                                00085125901        CAP 100MG                                                                                                                                                                               1.20               1.20              1.25          1.25    1.25
                                                                                                00085125902        CAP 100MG                                                                                                                                                                               1.20               1.20              1.25          1.25    1.25
                                                                                                                                         Notes: - The unit AWPs and WACs are as of June 30th for each year, based upon the last available price posted in the Medispan database.
                                                                                                                                                - The Intron-A NDCs used are all Schering Intron-A NDCs analyzed in the MDL.
                                                                                                                                                - The Proventil NDCs used are all Schering Proventil NDCs analyzed in the MDL (00085020802, 00085020901, 00085133601 and 00085180601) or just accused in the MDL complaint (00085061402 and 00085061403).
                                                                                                                                                - The Temodar NDCs used are all Schering Temodar NDCs analyzed in the MDL.
                                                                                                                                                - The ratios are rounded to the nearest hundredth.
                                                                                                                                       Sources: - "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                                - "Declaration of Raymond S. Hartman in Support of Plaintiffs' Claims of Liability and Calcu[l]ation of Damages", December 15, 2005.
                                                                                                                                                - "Third Amended Master Consolidated Class Action Complaint Amended to Comply with Court’s Class Certification Order, Redacted Version."
                                                                                                                                        Exhibit 5A
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                                                                                                              Market Shares by Manufacturer for Albuterol Sulfate 0.5% Products
                                                                                         60
                                                                                         50
                                                                      Market Share (%)




                                                                                         40
                                                                                         30
                                                                                         20
                                                                                         10
                                                                                          0
                                                                                                       2000                          2001                          2002                          2003                   2004
                                                                                                                                                                  Year
                                                                                                  Warrick                                        Dey Labs                                        MFR Not Stated
                                                                                                  GlaxoSmithKline (Ventolin)                     Bausch & Lomb                                   Schering (Proventil)
                                                                                                  Hi-Tech                                        Nephron                                         Other Generic
                                                                                              Note: The NDCs included in the market share calculations were selected based on similar product descriptions.
                                                                                              Source:
                                                                                              -- IMS Data.
                                                                                              -- National Drug Code Directory, http://www.fda.gov/cder/ndc/database/default.htm.
                                                                                                                                             Exhibit 5B
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                                                                                                                       Unit AWPs for Selected Albuterol Sulfate 0.5% Products
                                                                                                                                      Included in Exhibit 5A
                                                                                     1.30
                                                                                     1.20
                                                                                     1.10
                                                                      Unit AWP ($)




                                                                                     1.00
                                                                                     0.90
                                                                                     0.80
                                                                                     0.70
                                                                                                      2000                         2001                         2002                       2003                    2004
                                                                                                                                                                Year
                                                                                                         Warrick 59930151504 & 59930164702                              Dey Labs 49502010501
                                                                                                         Bausch and Lomb 24208034720                                    Hi-Tech 50383074120
                                                                                                         Nephron 00487990130                                            Schering (Proventil) 00085020802 & 00085133601
                                                                                        Notes:
                                                                                        -- AWP values are as of June 30th for each year. However, Nephron's AWP for 00487990130 first appears in September 2001.
                                                                                        -- Warrick 59930151504 has data points for 2000-2004, while Warrick 59930164702 has data points for 2003-2004.
                                                                                        -- Schering 00085020802 has data points for 2000-2004, while Schering 00085133601 has a data point for 2004 only.
                                                                                        -- Although sales appear in IMS for Schering 00085133601, the NDCs do not appear in Medispan until 2004.
                                                                                        Source:
                                                                                        -- "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                                                                                        -- National Drug Code Directory, http://www.fda.gov/cder/ndc/database/default.htm.
                                                                                                                                          Exhibit 6A
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                                                                                                               Market Shares by Manufacturer for Albuterol Sulfate 0.083% Products
                                                                                         60
                                                                                         50
                                                                      Market Share (%)




                                                                                         40
                                                                                         30
                                                                                         20
                                                                                         10
                                                                                          0
                                                                                                           2000                         2001                         2002                     2003                         2004
                                                                                                                                                                     Year
                                                                                                       Warrick     Dey Labs      Schering (Proventil)    Ivax    Alpharma      Nephron   RX Elite    Other Branded    Other Generic
                                                                                              Notes:
                                                                                              -- The NDCs included in the market share calculations were selected based on similar product descriptions.
                                                                                              -- Although sales appear in IMS for Dey Labs 49502069724, 49502069729, and 49502069761, the NDCs do not appear in either the RedBook
                                                                                              or Medispan until 2004.
                                                                                              Source:
                                                                                              -- IMS Data.
                                                                                              -- National Drug Code Directory, http://www.fda.gov/cder/ndc/database/default.htm.
                                                                                                                                            Exhibit 6B
                                                                                                                 Unit AWPs for Selected Generic Albuterol Sulfate 0.083% Products
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                                                                                                                                      Included in Exhibit 6A
                                                                                     0.42
                                                                      Unit AWP ($)




                                                                                     0.41
                                                                                         <
                                                                                     0.40 >
                                                                                         <>
                                                                                     0.27
                                                                                     0.39
                                                                                                     2000                         2001                        2002                        2003                     2004
                                                                                                                                                              Year
                                                                                        Warrick 59930150006, 59930150008, 59930151701, 59930151702                     Dey Labs 49502069724, 49502069729, 49502069761
                                                                                        Ivax 00172640544, 00172640549                                                  Alpharma 00472083123, 00472083130, 00472083160
                                                                                        Nephron 00487950101, 00487950103, 00487950125, 00487950160                     RX Elite 66794000125, 66794000130, 66794000160
                                                                                       Notes:
                                                                                       -- AWP values are as of June 30th for each year.
                                                                                       -- Warrick 59930150006 and 59930150008 have data points for 2000-2004, while Warrick 59930151701 and 59930151702 have data points for 2003-
                                                                                       2004.
                                                                                       -- Although sales appear in IMS for Dey Labs 49502069724, 49502069729, and 49502069761, the NDCs do not appear in either the RedBook or
                                                                                       Medispan until 2004.
                                                                                       -- Ivax 00172640544 and 00172640549 have been set at an AWP of $0.41 for 2000-2004. However, Ivax 00172640544 is $0.41 in 2000 and $0.4116
                                                                                       in the four years thereafter, while Ivax 00172640549 is $0.41167 in all five years.
                                                                                       -- Nephron 00487950103 and 00487950160 have data points for 2000-2004, while Nephron 00487950101 has data points for 2002-2004 and
                                                                                       00487950125 has data points for 2003-2004. Nephron lowered its AWPs to $0.26667 in 2002-2004.
                                                                                       -- RX Elite 66794000130 and 66794000160 have data points for 2002-2004, while RX Elite 66794000125 has data points for 2003-2004.
                                                                                       Source:
                                                                                       -- "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                                 Exhibit 6C
                                                                                                                                   Unit AWPs for Proventil 0.083% Products
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                                                                                                                                           Included in Exhibit 6A
                                                                                     0.90
                                                                                     0.80
                                                                                     0.70
                                                                                     0.60
                                                                      Unit AWP ($)




                                                                                     0.50
                                                                                     0.40
                                                                                     0.30
                                                                                     0.20
                                                                                     0.10
                                                                                     0.00
                                                                                                      2000                         2001                       2002                   2003                 2004
                                                                                                                                                              Year
                                                                                                                             Schering (Proventil) 00085020901          Schering (Proventil) 00085180601
                                                                                       Notes:
                                                                                       -- AWP values are as of June 30th for each year.
                                                                                       Source:
                                                                                       -- "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                                                                                                   Exhibit 7A
                                                                                                                                                                                              Last Recorded Medispan AWPs of Albuterol Sulfate 0.5%
                                                                      Generic Manufacturer                  NDC         1991                Generic Manufacturer                               NDC         1992                   Generic Manufacturer                  NDC         1993     Generic Manufacturer                  NDC         1994
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                                                                                                                                            HARBER PHARMACEUTICALS IN                          51432074511 0.7250                 HARBER PHARMACEUTICALS IN             51432074511 0.7250   SOUTHWOOD PHARMACEUTICALS INC         58016501801 1.1845
                                                                                                                                            MAJOR PHARMACEUTICALS INC                          00904765855 0.7000                 HL MOORE DRUG EXCHANGE                00839773097 0.7080   SOUTHWOOD PHARMACEUTICALS INC         58016640401 0.9375
                                                                                                                                            IVAX PHARMACEUTICALS INC                           00182601465 0.6975                 MAJOR PHARMACEUTICALS INC             00904765855 0.7000   MAJOR PHARMACEUTICALS INC             00904765855 0.7325
                                                                                                                                            RUGBY LABORATORIES INC                             00536267573 0.6750                 IVAX PHARMACEUTICALS INC              00182601465 0.6975   HARBER PHARMACEUTICALS IN             51432074511 0.7250
                                                                                                                                            SANDOZ INC                                         00781753580 0.6275                 RUGBY LABORATORIES INC                00536267573 0.6750   HL MOORE DRUG EXCHANGE                00839773097 0.7080
                                                                                                                                            ALIGEN INDEPENDENT LABORA                          00405213052 0.6250                 SCHEIN PHARMACEUTICAL INC             00364253055 0.6625   HL MOORE DRUG EXCHANGE                00839786197 0.7080
                                                                                                                                            QUALITEST PHARMACEUTICALS INC                      00603100643 0.6250                 SANDOZ INC                            00781753580 0.6275   IVAX PHARMACEUTICALS INC              00182601465 0.6975
                                                                                                                                            COPLEY PHARMACEUTICAL INC                          38245064009 0.6250                 ALIGEN INDEPENDENT LABORA             00405213052 0.6250   SCHEIN PHARMACEUTICAL INC             00364253055 0.6955
                                                                                                                                            HL MOORE DRUG EXCHANGE                             00839773097 0.6245                 QUALITEST PHARMACEUTICALS INC         00603100643 0.6250   RUGBY LABORATORIES INC                00536267573 0.6750
                                                                                                                                                                                                                                  COPLEY PHARMACEUTICAL INC             38245064009 0.6250   SANDOZ INC                            00781753580 0.6275
                                                                                                                                                                                                                                  ASTRAZENECA LP                        00186149001 0.5030   ASTRAZENECA LP                        00186149001 0.6250
                                                                                                                                                                                                                                                                                             ALIGEN INDEPENDENT LABORA             00405213052 0.6250
                                                                                                                                                                                                                                                                                             QUALITEST PHARMACEUTICALS INC         00603100643 0.6250
                                                                                                                                                                                                                                                                                             COPLEY PHARMACEUTICAL INC             38245064009 0.6250
                                                                                                                                                                                                                                                                                             WARRICK PHARMACEUTICALS CORP          59930151504 0.6250
                                                                                                                                                                                                                                                                                             UNITED RESEARCH LABORATORIES INC      00677152122 0.6225
                                                                      Generic Median Value(s):                                              Generic Median Value(s):                                           0.6275             Generic Median Value(s):                          0.6625   Generic Median Value(s):                          0.6955
                                                                                                                                                                                                                                                                                                                                               0.6750
                                                                      Branded Manufacturer                  NDC         1991                Branded Manufacturer                               NDC         1992                   Branded Manufacturer                  NDC         1993     Branded Manufacturer                  NDC         1994
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569198900 0.8025              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                54569198900 0.9325                 ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569236100 0.9125   SOUTHWOOD PHARMACEUTICALS INC         58016610901 1.0595
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569236100 0.7825              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                54569236100 0.9125                 SCHERING CORP                         00085020802 0.7765   ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569236100 0.9125
                                                                      SCHERING CORP                         00085020802 0.7110              SCHERING CORP                                      00085020802 0.7765                 GLAXOSMITHKLINE                       00173038558 0.7765   SCHERING CORP                         00085020802 0.7765
                                                                      GLAXOSMITHKLINE                       00173038558 0.7110              GLAXOSMITHKLINE                                    00173038558 0.7765                 ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569198900 0.7765   GLAXOSMITHKLINE                       00173038558 0.7765
                                                                                                                                                                                                                                                                                             ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569198900 0.7765
                                                                                                                                   Note:
                                                                                                                                            Unit AWPs are evaluated as of June 30th of each year based on the latest AWP posted in Medispan through that year.
                                                                                                                                 Sources:
                                                                                                                                            “Comprehensive Price History File,” 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                            http://www.fda.gov/cder/ndc/database/default.htm
                                                                                                                                            http://www.firstdatabank.com/customer_support/drug_pricing_policy/manufacturers_list/manufacturers_list.pdf
                                                                                                                                            http://www.ctmedicalprogram.com/misc/desi.pdf
                                                                                                                                            http://www.recalls.org/d6-99.html
                                                                                                                                            http://www.ivaxpharmaceuticals.com/aboutus.html
                                                                                                                                            http://www.allergyny.com/Treatments/Medications/Nose/Claritin.htm
                                                                                                                                                                                                                               Page 1 of 8
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                                                                                                                                                                                               Last Recorded Medispan AWPs of Albuterol Sulfate 0.5%
                                                                      Generic Manufacturer                  NDC         1995                Generic Manufacturer                                 NDC         1996                  Generic Manufacturer                  NDC         1997     Generic Manufacturer                  NDC         1998
Case 1:01-cv-12257-PBS Document 3388-3 Filed 11/17/06 Page 51 of 67




                                                                      SOUTHWOOD PHARMACEUTICALS INC         58016501801 1.1845              XACTDOSE INC                                         50962040451 4.6800                XACTDOSE INC                          50962040451 4.6800   XACTDOSE INC                          50962040451 4.6800
                                                                      SOUTHWOOD PHARMACEUTICALS INC         58016640401 0.9375              XACTDOSE INC                                         50962040350 2.4000                XACTDOSE INC                          50962040350 2.4000   XACTDOSE INC                          50962040350 2.4000
                                                                      HL MOORE DRUG EXCHANGE                00839786197 0.7930              XACTDOSE INC                                         50962040951 2.4000                XACTDOSE INC                          50962040951 2.4000   XACTDOSE INC                          50962040951 2.4000
                                                                      ALIGEN INDEPENDENT LABORA             00405213052 0.7325              SOUTHWOOD PHARMACEUTICALS INC                        58016501801 1.1845                SOUTHWOOD PHARMACEUTICALS INC         58016501801 1.1845   SOUTHWOOD PHARMACEUTICALS INC         58016501801 1.1845
                                                                      MAJOR PHARMACEUTICALS INC             00904765855 0.7325              SOUTHWOOD PHARMACEUTICALS INC                        58016501820 1.0600                SOUTHWOOD PHARMACEUTICALS INC         58016501820 1.0600   SOUTHWOOD PHARMACEUTICALS INC         58016501820 1.0600
                                                                      HARBER PHARMACEUTICALS IN             51432074511 0.7250              SOUTHWOOD PHARMACEUTICALS INC                        58016640401 0.9375                SOUTHWOOD PHARMACEUTICALS INC         58016640401 0.9375   SOUTHWOOD PHARMACEUTICALS INC         58016640401 0.9375
                                                                      HL MOORE DRUG EXCHANGE                00839773097 0.7080              PHYSICIANS TOTAL CARE INC                            54868340700 0.8935                PHYSICIANS TOTAL CARE INC             54868340700 0.8935   PHYSICIANS TOTAL CARE INC             54868340700 0.8935
                                                                      IVAX PHARMACEUTICALS INC              00182601465 0.6975              HL MOORE DRUG EXCHANGE                               00839786197 0.8240                HL MOORE DRUG EXCHANGE                00839786197 0.8240   HI TECH PHARMACAL CO INC              50383074120 0.8250
                                                                      SANDOZ INC                            00781753580 0.6975              SOUTHWOOD PHARMACEUTICALS INC                        58016640420 0.7765                SOUTHWOOD PHARMACEUTICALS INC         58016640420 0.7765   HL MOORE DRUG EXCHANGE                00839786197 0.8240
                                                                      WARRICK PHARMACEUTICALS CORP          59930151504 0.6975              DEY LP                                               49502019620 0.7495                DEY LP                                49502019620 0.7495   SOUTHWOOD PHARMACEUTICALS INC         58016640420 0.7765
                                                                      SCHEIN PHARMACEUTICAL INC             00364253055 0.6955              NOVAPHARM                                            55953021220 0.7495                NOVAPHARM                             55953021220 0.7495   DEY LP                                49502019620 0.7495
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569390000 0.6780              WARRICK PHARMACEUTICALS CORP                         59930151504 0.7495                WARRICK PHARMACEUTICALS CORP          59930151504 0.7495   ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569390000 0.7495
                                                                      RUGBY LABORATORIES INC                00536267573 0.6750              ALIGEN INDEPENDENT LABORA                            00405213052 0.7325                ALIGEN INDEPENDENT LABORA             00405213052 0.7325   NOVAPHARM                             55953021220 0.7495
                                                                      ASTRAZENECA LP                        00186149001 0.6600              MAJOR PHARMACEUTICALS INC                            00904765855 0.7325                MAJOR PHARMACEUTICALS INC             00904765855 0.7325   WARRICK PHARMACEUTICALS CORP          59930151504 0.7495
                                                                      QUALITEST PHARMACEUTICALS INC         00603100643 0.6250              HARBER PHARMACEUTICALS IN                            51432074511 0.7250                HARBER PHARMACEUTICALS IN             51432074511 0.7250   ALIGEN INDEPENDENT LABORA             00405213052 0.7325
                                                                      COPLEY PHARMACEUTICAL INC             38245064009 0.6250              HL MOORE DRUG EXCHANGE                               00839773097 0.7080                IVAX PHARMACEUTICALS INC              00182601465 0.7200   MAJOR PHARMACEUTICALS INC             00904765855 0.7325
                                                                      UNITED RESEARCH LABORATORIES INC      00677152122 0.6225              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                  54569390000 0.7035                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569390000 0.7130   HARBER PHARMACEUTICALS IN             51432074511 0.7250
                                                                                                                                            IVAX PHARMACEUTICALS INC                             00182601465 0.6975                HL MOORE DRUG EXCHANGE                00839773097 0.7080   IVAX PHARMACEUTICALS INC              00182601465 0.7200
                                                                                                                                            RUGBY LABORATORIES INC                               00536267573 0.6975                RUGBY LABORATORIES INC                00536267573 0.6975   HL MOORE DRUG EXCHANGE                00839773097 0.7080
                                                                                                                                            SANDOZ INC                                           00781753580 0.6975                UNITED RESEARCH LABORATORIES INC      00677152122 0.6975   RUGBY LABORATORIES INC                00536000773 0.6975
                                                                                                                                            SCHEIN PHARMACEUTICAL INC                            00364253055 0.6955                SANDOZ INC                            00781753580 0.6975   RUGBY LABORATORIES INC                00536267573 0.6975
                                                                                                                                            ASTRAZENECA LP                                       00186149001 0.6600                SCHEIN PHARMACEUTICAL INC             00364253055 0.6955   UNITED RESEARCH LABORATORIES INC      00677152122 0.6975
                                                                                                                                            QUALITEST PHARMACEUTICALS INC                        00603100643 0.6250                QUALITEST PHARMACEUTICALS INC         00603100643 0.6250   SANDOZ INC                            00781753580 0.6975
                                                                                                                                            COPLEY PHARMACEUTICAL INC                            38245064009 0.6250                COPLEY PHARMACEUTICAL INC             38245064009 0.6250   SCHEIN PHARMACEUTICAL INC             00364253055 0.6955
                                                                                                                                            UNITED RESEARCH LABORATORIES INC                     00677152122 0.6225                ASTRAZENECA LP                        00186149001 0.5345   QUALITEST PHARMACEUTICALS INC         00603100643 0.6250
                                                                                                                                                                                                                                                                                              COPLEY PHARMACEUTICAL INC             38245064009 0.6250
                                                                                                                                                                                                                                                                                              ASTRAZENECA LP                        00186149001 0.5345
                                                                      Generic Median Value(s):                          0.6975              Generic Median Value(s):                                            0.7325             Generic Median Value(s):                          0.7325   Generic Median Value(s):                          0.7495
                                                                      Branded Manufacturer                  NDC         1995                Branded Manufacturer                                 NDC         1996                  Branded Manufacturer                  NDC         1997     Branded Manufacturer                  NDC         1998
                                                                      HJ HARKINS CO INC                     52959129400 1.0595              HJ HARKINS CO INC                                    52959129400 1.0595                HJ HARKINS CO INC                     52959129400 1.1025   HJ HARKINS CO INC                     52959129400 1.1025
                                                                      SOUTHWOOD PHARMACEUTICALS INC         58016610901 1.0595              SOUTHWOOD PHARMACEUTICALS INC                        58016610901 1.0595                SOUTHWOOD PHARMACEUTICALS INC         58016610901 1.0595   SOUTHWOOD PHARMACEUTICALS INC         58016610901 1.0595
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569236100 0.9125              PRESCRIPT PHARM                                      00247087120 0.9935                PRESCRIPT PHARM                       00247087120 0.9935   PRESCRIPT PHARM                       00247087120 0.9935
                                                                      SCHERING CORP                         00085020802 0.7765              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                  54569236100 0.9125                PHYSICIANS TOTAL CARE INC             54868347900 0.9435   GLAXOSMITHKLINE                       00173038558 0.9770
                                                                      GLAXOSMITHKLINE                       00173038558 0.7765              PHYSICIANS TOTAL CARE INC                            54868347900 0.8910                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569236100 0.9125   SCHERING CORP                         00085020802 0.9605
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569198900 0.7765              SCHERING CORP                                        00085020802 0.8510                SCHERING CORP                         00085020802 0.8925   ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569198900 0.9605
                                                                                                                                            ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                  54569198900 0.8510                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569198900 0.8925   PHYSICIANS TOTAL CARE INC             54868347900 0.9435
                                                                                                                                            GLAXOSMITHKLINE                                      00173038558 0.8140                GLAXOSMITHKLINE                       00173038558 0.8545   ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569236100 0.9125
                                                                                                                                   Note:
                                                                                                                                            Unit AWPs are evaluated as of June 30th of each year based on the latest AWP posted in Medispan through that year.
                                                                                                                                 Sources:
                                                                                                                                            “Comprehensive Price History File,” 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                            http://www.fda.gov/cder/ndc/database/default.htm
                                                                                                                                            http://www.firstdatabank.com/customer_support/drug_pricing_policy/manufacturers_list/manufacturers_list.pdf
                                                                                                                                            http://www.ctmedicalprogram.com/misc/desi.pdf
                                                                                                                                            http://www.recalls.org/d6-99.html
                                                                                                                                            http://www.ivaxpharmaceuticals.com/aboutus.html
                                                                                                                                            http://www.allergyny.com/Treatments/Medications/Nose/Claritin.htm
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                                                                                                                                                                                               Last Recorded Medispan AWPs of Albuterol Sulfate 0.5%
                                                                      Generic Manufacturer                  NDC         1999                Generic Manufacturer                                 NDC         2000                  Generic Manufacturer                  NDC         2001     Generic Manufacturer                  NDC         2002
Case 1:01-cv-12257-PBS Document 3388-3 Filed 11/17/06 Page 52 of 67




                                                                      XACTDOSE INC                          50962040451 4.6800              XACTDOSE INC                                         50962040451 4.6800                XACTDOSE INC                          50962040451 4.6800   XACTDOSE INC                          50962040451 4.6800
                                                                      XACTDOSE INC                          50962040350 2.4000              XACTDOSE INC                                         50962040350 2.4000                XACTDOSE INC                          50962040350 2.4000   XACTDOSE INC                          50962040350 2.4000
                                                                      XACTDOSE INC                          50962040951 2.4000              XACTDOSE INC                                         50962040951 2.4000                XACTDOSE INC                          50962040951 2.4000   XACTDOSE INC                          50962040951 2.4000
                                                                      SOUTHWOOD PHARMACEUTICALS INC         58016501801 1.1845              SOUTHWOOD PHARMACEUTICALS INC                        58016501801 1.1845                SOUTHWOOD PHARMACEUTICALS INC         58016501801 1.1845   SOUTHWOOD PHARMACEUTICALS INC         58016501801 1.1845
                                                                      SOUTHWOOD PHARMACEUTICALS INC         58016501820 1.0600              SOUTHWOOD PHARMACEUTICALS INC                        58016501820 1.0600                SOUTHWOOD PHARMACEUTICALS INC         58016501820 1.0600   SOUTHWOOD PHARMACEUTICALS INC         58016501820 1.0600
                                                                      SOUTHWOOD PHARMACEUTICALS INC         58016640401 0.9375              SOUTHWOOD PHARMACEUTICALS INC                        58016640401 0.9375                SOUTHWOOD PHARMACEUTICALS INC         58016640401 0.9375   SOUTHWOOD PHARMACEUTICALS INC         58016640401 0.9375
                                                                      BAUSCH AND LOMB INC                   24208034720 0.8500              BAUSCH AND LOMB INC                                  24208034720 0.8500                BAUSCH AND LOMB INC                   24208034720 0.8500   NEPHRON PHARMACEUTICALS CORP          00487990130 0.9000
                                                                      HI TECH PHARMACAL CO INC              50383074120 0.8250              HI TECH PHARMACAL CO INC                             50383074120 0.8250                UNITED RESEARCH LABORATORIES INC      00677152122 0.8495   RXELITE HOLDINGS INC                  66794000330 0.9000
                                                                      HL MOORE DRUG EXCHANGE                00839786197 0.8240              HL MOORE DRUG EXCHANGE                               00839786197 0.8240                ALPHARMA USPD INC                     00472083220 0.8355   BAUSCH AND LOMB INC                   24208034720 0.8500
                                                                      SOUTHWOOD PHARMACEUTICALS INC         58016640420 0.7765              COMPUMED PHARMACEUTICALS                             00403467218 0.7825                HI TECH PHARMACAL CO INC              50383074120 0.8250   UNITED RESEARCH LABORATORIES INC      00677152122 0.8495
                                                                      DEY LP                                49502019620 0.7495              SOUTHWOOD PHARMACEUTICALS INC                        58016640420 0.7765                HL MOORE DRUG EXCHANGE                00839786197 0.8240   ALPHARMA USPD INC                     00472083220 0.8355
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569390000 0.7495              UNITED RESEARCH LABORATORIES INC                     00677152122 0.7570                COMPUMED PHARMACEUTICALS              00403467218 0.7825   HI TECH PHARMACAL CO INC              50383074120 0.8250
                                                                      NOVAPHARM                             55953021220 0.7495              DEY LP                                               49502010501 0.7495                SOUTHWOOD PHARMACEUTICALS INC         58016640420 0.7765   HL MOORE DRUG EXCHANGE                00839786197 0.8240
                                                                      WARRICK PHARMACEUTICALS CORP          59930151504 0.7495              DEY LP                                               49502019620 0.7495                IVAX PHARMACEUTICALS INC              00182601465 0.7495   COMPUMED PHARMACEUTICALS              00403467218 0.7825
                                                                      ALIGEN INDEPENDENT LABORA             00405213052 0.7325              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                  54569390000 0.7495                DEY LP                                49502010501 0.7495   SOUTHWOOD PHARMACEUTICALS INC         58016640420 0.7765
                                                                      MAJOR PHARMACEUTICALS INC             00904765855 0.7325              NOVAPHARM                                            55953021220 0.7495                DEY LP                                49502019620 0.7495   PHYSICIANS TOTAL CARE INC             54868340700 0.7625
                                                                      HARBER PHARMACEUTICALS IN             51432074511 0.7250              WARRICK PHARMACEUTICALS CORP                         59930151504 0.7495                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569390000 0.7495   IVAX PHARMACEUTICALS INC              00182601465 0.7495
                                                                      HL MOORE DRUG EXCHANGE                00839773097 0.7080              ALIGEN INDEPENDENT LABORA                            00405213052 0.7325                NOVAPHARM                             55953021220 0.7495   DEY LP                                49502010501 0.7495
                                                                      RUGBY LABORATORIES INC                00536000773 0.6975              MAJOR PHARMACEUTICALS INC                            00904765855 0.7325                WARRICK PHARMACEUTICALS CORP          59930151504 0.7495   DEY LP                                49502019620 0.7495
                                                                      RUGBY LABORATORIES INC                00536267573 0.6975              HARBER PHARMACEUTICALS IN                            51432074511 0.7250                ALIGEN INDEPENDENT LABORA             00405213052 0.7325   ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569390000 0.7495
                                                                      UNITED RESEARCH LABORATORIES INC      00677152122 0.6975              HL MOORE DRUG EXCHANGE                               00839773097 0.7080                MAJOR PHARMACEUTICALS INC             00904765855 0.7325   NOVAPHARM                             55953021220 0.7495
                                                                      SANDOZ INC                            00781753580 0.6975              RUGBY LABORATORIES INC                               00536000773 0.6975                HARBER PHARMACEUTICALS IN             51432074511 0.7250   WARRICK PHARMACEUTICALS CORP          59930151504 0.7495
                                                                      SCHEIN PHARMACEUTICAL INC             00364253055 0.6955              RUGBY LABORATORIES INC                               00536267573 0.6975                HL MOORE DRUG EXCHANGE                00839773097 0.7080   ALIGEN INDEPENDENT LABORA             00405213052 0.7325
                                                                      QUALITEST PHARMACEUTICALS INC         00603100643 0.6250              SANDOZ INC                                           00781753580 0.6975                RUGBY LABORATORIES INC                00536000773 0.6975   MAJOR PHARMACEUTICALS INC             00904765855 0.7325
                                                                      COPLEY PHARMACEUTICAL INC             38245064009 0.6250              SCHEIN PHARMACEUTICAL INC                            00364253055 0.6955                RUGBY LABORATORIES INC                00536267573 0.6975   HARBER PHARMACEUTICALS IN             51432074511 0.7250
                                                                      ASTRAZENECA LP                        00186149001 0.5345              QUALITEST PHARMACEUTICALS INC                        00603100643 0.6250                SANDOZ INC                            00781753580 0.6975   HL MOORE DRUG EXCHANGE                00839773097 0.7080
                                                                      PHYSICIANS TOTAL CARE INC             54868340700 0.4990              COPLEY PHARMACEUTICAL INC                            38245064009 0.6250                SCHEIN PHARMACEUTICAL INC             00364253055 0.6955   RUGBY LABORATORIES INC                00536000773 0.6975
                                                                      IVAX PHARMACEUTICALS INC              00182601465 0.4495              ASTRAZENECA LP                                       00186149001 0.5345                RXELITE HOLDINGS INC                  66794000330 0.6300   RUGBY LABORATORIES INC                00536267573 0.6975
                                                                                                                                            PHYSICIANS TOTAL CARE INC                            54868340700 0.4990                QUALITEST PHARMACEUTICALS INC         00603100643 0.6250   SANDOZ INC                            00781753580 0.6975
                                                                                                                                            IVAX PHARMACEUTICALS INC                             00182601465 0.4495                COPLEY PHARMACEUTICAL INC             38245064009 0.6250   SCHEIN PHARMACEUTICAL INC             00364253055 0.6955
                                                                                                                                                                                                                                   ASTRAZENECA LP                        00186149001 0.5345   QUALITEST PHARMACEUTICALS INC         00603100643 0.6250
                                                                                                                                                                                                                                   PHYSICIANS TOTAL CARE INC             54868340700 0.4990   COPLEY PHARMACEUTICAL INC             38245064009 0.6250
                                                                                                                                                                                                                                                                                              ASTRAZENECA LP                        00186149001 0.5345
                                                                      Generic Median Value(s):                          0.7495              Generic Median Value(s):                                            0.7495             Generic Median Value(s):                          0.7495   Generic Median Value(s):                          0.7495
                                                                                                                        0.7325
                                                                      Branded Manufacturer                  NDC         1999                Branded Manufacturer                                 NDC         2000                  Branded Manufacturer                  NDC         2001     Branded Manufacturer                  NDC         2002
                                                                      SOUTHWOOD PHARMACEUTICALS INC         58016610901 1.4490              SOUTHWOOD PHARMACEUTICALS INC                        58016610901 1.4490                SOUTHWOOD PHARMACEUTICALS INC         58016610901 1.4490   SOUTHWOOD PHARMACEUTICALS INC         58016610901 1.4490
                                                                      HJ HARKINS CO INC                     52959129400 1.1025              HJ HARKINS CO INC                                    52959129400 1.1025                PHYSICIANS TOTAL CARE INC             54868347900 1.2075   PHYSICIANS TOTAL CARE INC             54868347900 1.2075
                                                                      GLAXOSMITHKLINE                       00173038558 1.0260              GLAXOSMITHKLINE                                      00173038558 1.0360                HJ HARKINS CO INC                     52959129400 1.1025   SCHERING CORP                         00085020802 1.1250
                                                                      SCHERING CORP                         00085020802 0.9940              SCHERING CORP                                        00085020802 1.0290                SCHERING CORP                         00085020802 1.0705   ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569198900 1.1250
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569198900 0.9940              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                  54569198900 1.0290                GLAXOSMITHKLINE                       00173038558 1.0360   HJ HARKINS CO INC                     52959129400 1.1025
                                                                      PRESCRIPT PHARM                       00247087120 0.9935              PRESCRIPT PHARM                                      00247087120 0.9935                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569198900 1.0290   GLAXOSMITHKLINE                       00173038558 1.0360
                                                                      COMPUMED PHARMACEUTICALS              00403350718 0.9600              COMPUMED PHARMACEUTICALS                             00403350718 0.9600                PRESCRIPT PHARM                       00247087120 0.9935   PRESCRIPT PHARM                       00247087120 0.9935
                                                                      PHYSICIANS TOTAL CARE INC             54868347900 0.9435              PHYSICIANS TOTAL CARE INC                            54868347900 0.9435                COMPUMED PHARMACEUTICALS              00403350718 0.9600   COMPUMED PHARMACEUTICALS              00403350718 0.9600
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569236100 0.9125              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                  54569236100 0.9125                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569236100 0.9125   ALLSCRIPTS HEALTHCARE SOLUTIONS LLC   54569236100 0.9125
                                                                                                                                   Note:
                                                                                                                                            Unit AWPs are evaluated as of June 30th of each year based on the latest AWP posted in Medispan through that year.
                                                                                                                                 Sources:
                                                                                                                                            “Comprehensive Price History File,” 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                            http://www.fda.gov/cder/ndc/database/default.htm
                                                                                                                                            http://www.firstdatabank.com/customer_support/drug_pricing_policy/manufacturers_list/manufacturers_list.pdf
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                                                                                                                                            http://www.allergyny.com/Treatments/Medications/Nose/Claritin.htm
                                                                                                                                                                                                                              Page 3 of 8
                                                                                                                                 Exhibit 7A
                                                                                                            Last Recorded Medispan AWPs of Albuterol Sulfate 0.5%
                                                                      Generic Manufacturer                   NDC         2003                Generic Manufacturer                                 NDC         2004
Case 1:01-cv-12257-PBS Document 3388-3 Filed 11/17/06 Page 53 of 67




                                                                      XACTDOSE INC                           50962040451 4.6800              XACTDOSE INC                                         50962040451 4.6800
                                                                      XACTDOSE INC                           50962040350 2.4000              XACTDOSE INC                                         50962040350 2.4000
                                                                      XACTDOSE INC                           50962040951 2.4000              XACTDOSE INC                                         50962040951 2.4000
                                                                      SOUTHWOOD PHARMACEUTICALS INC          58016501801 1.1845              SOUTHWOOD PHARMACEUTICALS INC                        58016501801 1.1845
                                                                      SOUTHWOOD PHARMACEUTICALS INC          58016501820 1.0600              HJ HARKINS CO INC                                    52959074120 1.1320
                                                                      SOUTHWOOD PHARMACEUTICALS INC          58016640401 0.9375              SOUTHWOOD PHARMACEUTICALS INC                        58016501820 1.0600
                                                                      NEPHRON PHARMACEUTICALS CORP           00487990130 0.9000              SOUTHWOOD PHARMACEUTICALS INC                        58016640401 0.9375
                                                                      RXELITE HOLDINGS INC                   66794000330 0.9000              NEPHRON PHARMACEUTICALS CORP                         00487990130 0.9000
                                                                      BAUSCH AND LOMB INC                    24208034720 0.8500              RXELITE HOLDINGS INC                                 66794000330 0.9000
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC    54569390000 0.8500              BAUSCH AND LOMB INC                                  24208034720 0.8500
                                                                      UNITED RESEARCH LABORATORIES INC       00677152122 0.8495              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                  54569390000 0.8500
                                                                      MAJOR PHARMACEUTICALS INC              00904765855 0.8400              UNITED RESEARCH LABORATORIES INC                     00677152122 0.8495
                                                                      ALPHARMA USPD INC                      00472083220 0.8355              DISPENSEXPRESS INC                                   68115071120 0.8495
                                                                      HI TECH PHARMACAL CO INC               50383074120 0.8250              MAJOR PHARMACEUTICALS INC                            00904765855 0.8400
                                                                      HL MOORE DRUG EXCHANGE                 00839786197 0.8240              ALPHARMA USPD INC                                    00472083220 0.8355
                                                                      COMPUMED PHARMACEUTICALS               00403467218 0.7825              HI TECH PHARMACAL CO INC                             50383074120 0.8250
                                                                      SOUTHWOOD PHARMACEUTICALS INC          58016640420 0.7765              HL MOORE DRUG EXCHANGE                               00839786197 0.8240
                                                                      PHYSICIANS TOTAL CARE INC              54868340700 0.7625              COMPUMED PHARMACEUTICALS                             00403467218 0.7825
                                                                      IVAX PHARMACEUTICALS INC               00182601465 0.7495              SOUTHWOOD PHARMACEUTICALS INC                        58016640420 0.7765
                                                                      DEY LP                                 49502010501 0.7495              PHYSICIANS TOTAL CARE INC                            54868340700 0.7625
                                                                      DEY LP                                 49502019620 0.7495              IVAX PHARMACEUTICALS INC                             00182601465 0.7495
                                                                      NOVAPHARM                              55953021220 0.7495              DEY LP                                               49502010501 0.7495
                                                                      WARRICK PHARMACEUTICALS CORP           59930151504 0.7495              DEY LP                                               49502019620 0.7495
                                                                      WARRICK PHARMACEUTICALS CORP           59930164702 0.7495              NOVAPHARM                                            55953021220 0.7495
                                                                      ALIGEN INDEPENDENT LABORA              00405213052 0.7325              WARRICK PHARMACEUTICALS CORP                         59930151504 0.7495
                                                                      HARBER PHARMACEUTICALS IN              51432074511 0.7250              WARRICK PHARMACEUTICALS CORP                         59930164702 0.7495
                                                                      HL MOORE DRUG EXCHANGE                 00839773097 0.7080              ALIGEN INDEPENDENT LABORA                            00405213052 0.7325
                                                                      RUGBY LABORATORIES INC                 00536000773 0.6975              HARBER PHARMACEUTICALS IN                            51432074511 0.7250
                                                                      RUGBY LABORATORIES INC                 00536267573 0.6975              HL MOORE DRUG EXCHANGE                               00839773097 0.7080
                                                                      SANDOZ INC                             00781753580 0.6975              RUGBY LABORATORIES INC                               00536000773 0.6975
                                                                      SCHEIN PHARMACEUTICAL INC              00364253055 0.6955              RUGBY LABORATORIES INC                               00536267573 0.6975
                                                                      QUALITEST PHARMACEUTICALS INC          00603100643 0.6250              SANDOZ INC                                           00781753580 0.6975
                                                                      COPLEY PHARMACEUTICAL INC              38245064009 0.6250              SCHEIN PHARMACEUTICAL INC                            00364253055 0.6955
                                                                      ASTRAZENECA LP                         00186149001 0.5345              QUALITEST PHARMACEUTICALS INC                        00603100643 0.6250
                                                                                                                                             COPLEY PHARMACEUTICAL INC                            38245064009 0.6250
                                                                                                                                             ASTRAZENECA LP                                       00186149001 0.5345
                                                                      Generic Median Value(s):                           0.7765              Generic Median Value(s):                                            0.7825
                                                                                                                         0.7625                                                                                  0.7765
                                                                      Branded Manufacturer                   NDC         2003                Branded Manufacturer                                 NDC         2004
                                                                      SOUTHWOOD PHARMACEUTICALS INC          58016610901 1.4490              SOUTHWOOD PHARMACEUTICALS INC                        58016610901 1.4490
                                                                      PHYSICIANS TOTAL CARE INC              54868347900 1.2075              PHYSICIANS TOTAL CARE INC                            54868347900 1.2075
                                                                      SCHERING CORP                          00085020802 1.1250              SCHERING CORP                                        00085020802 1.2070
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC    54569198900 1.1250              SCHERING CORP                                        00085133601 1.2070
                                                                      HJ HARKINS CO INC                      52959129400 1.1025              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                  54569198900 1.1250
                                                                      GLAXOSMITHKLINE                        00173038558 1.0360              HJ HARKINS CO INC                                    52959129400 1.1025
                                                                      PRESCRIPT PHARM                        00247087120 0.9935              GLAXOSMITHKLINE                                      00173038558 1.0360
                                                                      COMPUMED PHARMACEUTICALS               00403350718 0.9600              PRESCRIPT PHARM                                      00247087120 0.9935
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC    54569236100 0.9125              COMPUMED PHARMACEUTICALS                             00403350718 0.9600
                                                                                                                                             ALLSCRIPTS HEALTHCARE SOLUTIONS LLC                  54569236100 0.9125
                                                                                                                                    Note:
                                                                                                                                             Unit AWPs are evaluated as of June 30th of each year based on the latest AWP posted in Medispan through that year.
                                                                                                                                  Sources:
                                                                                                                                             “Comprehensive Price History File,” 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                             http://www.fda.gov/cder/ndc/database/default.htm
                                                                                                                                             http://www.firstdatabank.com/customer_support/drug_pricing_policy/manufacturers_list/manufacturers_list.pdf
                                                                                                                                             http://www.ctmedicalprogram.com/misc/desi.pdf
                                                                                                                                             http://www.recalls.org/d6-99.html
                                                                                                                                             http://www.ivaxpharmaceuticals.com/aboutus.html
                                                                                                                                             http://www.allergyny.com/Treatments/Medications/Nose/Claritin.htm
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                                                                                                                                                                                       Last Recorded Medispan AWPs of Albuterol Sulfate 0.083%
                                                                      Generic Manufacturer                 NDC       1991                Generic Manufacturer                              NDC         1992                  Generic Manufacturer                 NDC         1993     Generic Manufacturer                 NDC         1994
                                                                                                                                         DEY LP                                            49502069703 0.4307                DEY LP                               49502069703 0.4307   PHYSICIANS TOTAL CARE INC            54868247201 0.4509
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                                                                                                                                                                                                                             DEY LP                               49502069760 0.4306   RUGBY LABORATORIES INC               00536267704 0.4333
                                                                                                                                                                                                                                                                                       HL MOORE DRUG EXCHANGE               00839781610 0.4308
                                                                                                                                                                                                                                                                                       HL MOORE DRUG EXCHANGE               00839786018 0.4308
                                                                                                                                                                                                                                                                                       ALIGEN INDEPENDENT LABORA            00405213125 0.4293
                                                                                                                                                                                                                                                                                       UNITED RESEARCH LABORATORIES INC     00677152272 0.4267
                                                                                                                                                                                                                                                                                       SANDOZ INC                           00781915093 0.4231
                                                                                                                                                                                                                                                                                       MAJOR PHARMACEUTICALS INC            00904773117 0.4167
                                                                                                                                                                                                                                                                                       HL MOORE DRUG EXCHANGE               00839786035 0.4065
                                                                                                                                                                                                                                                                                       QUALITEST PHARMACEUTICALS INC        00603100540 0.4056
                                                                                                                                                                                                                                                                                       ASTRAZENECA LP                       00186149104 0.4033
                                                                                                                                                                                                                                                                                       ASTRAZENECA LP                       00186149117 0.4033
                                                                                                                                                                                                                                                                                       DEY LP                               49502069703 0.4033
                                                                                                                                                                                                                                                                                       DEY LP                               49502069733 0.4033
                                                                                                                                                                                                                                                                                       DEY LP                               49502069760 0.4033
                                                                                                                                                                                                                                                                                       WARRICK PHARMACEUTICALS CORP         59930150006 0.4033
                                                                                                                                                                                                                                                                                       WARRICK PHARMACEUTICALS CORP         59930150008 0.4033
                                                                                                                                                                                                                                                                                       UNITED RESEARCH LABORATORIES INC     00677152273 0.4028
                                                                                                                                                                                                                                                                                       COPLEY PHARMACEUTICAL INC            38245066917 0.4000
                                                                                                                                                                                                                                                                                       IVAX PHARMACEUTICALS INC             00182801024 0.3067
                                                                      Generic Median Value(s):                                           Generic Median Value(s):                                         0.4307             Generic Median Value(s):                         0.4307   Generic Median Value(s):                         0.4056
                                                                                                                                                                                                                                                                              0.4306                                                    0.4033
                                                                      Branded Manufacturer               NDC         1991                Branded Manufacturer               NDC         1992                                 Branded Manufacturer               NDC         1993       Branded Manufacturer               NDC         1994
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC54569169101 0.4580              ALLSCRIPTS HEALTHCARE SOLUTIONS LLC54569169101 0.5407                               ALLSCRIPTS HEALTHCARE SOLUTIONS LLC54569169101 0.5407     CELLTECH MANUFACTURING INC         53014007525 0.4763
                                                                      SCHERING CORP                      00085020901 0.4320              SCHERING CORP                      00085020901 0.4719                               SCHERING CORP                      00085020901 0.4719     SCHERING CORP                      00085020901 0.4719
                                                                                                                                         CELLTECH MANUFACTURING INC         53014007525 0.4320                               CELLTECH MANUFACTURING INC         53014007525 0.4536     ALLSCRIPTS HEALTHCARE SOLUTIONS LLC54569169101 0.4719
                                                                                                                                         CELLTECH MANUFACTURING INC         53014007560 0.3888                               GLAXOSMITHKLINE                    00173041900 0.4320     GLAXOSMITHKLINE                    00173041900 0.4320
                                                                                                                                                                                                                             CELLTECH MANUFACTURING INC         53014007560 0.4082     CELLTECH MANUFACTURING INC         53014007560 0.4286
                                                                                                                                 Note:
                                                                                                                                         Unit AWPs are evaluated as of June 30th of each year based on the latest AWP posted in Medispan through that year.
                                                                                                                              Sources:
                                                                                                                                         “Comprehensive Price History File,” 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                         http://www.fda.gov/cder/ndc/database/default.htm
                                                                                                                                         http://www.firstdatabank.com/customer_support/drug_pricing_policy/manufacturers_list/manufacturers_list.pdf
                                                                                                                                         http://www.ctmedicalprogram.com/misc/desi.pdf
                                                                                                                                         http://www.recalls.org/d6-99.html
                                                                                                                                         http://www.ivaxpharmaceuticals.com/aboutus.html
                                                                                                                                         http://www.allergyny.com/Treatments/Medications/Nose/Claritin.htm
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                                                                                                                                                                                           Last Recorded Medispan AWPs of Albuterol Sulfate 0.083%
                                                                      Generic Manufacturer               NDC        1995                  Generic Manufacturer                NDC        1996                                   Generic Manufacturer                NDC        1997       Generic Manufacturer                NDC        1998
                                                                      PHYSICIANS TOTAL CARE INC          54868247201 0.4509               MAJOR PHARMACEUTICALS INC           00904773117 1.6667                                MAJOR PHARMACEUTICALS INC           00904773117 1.6667    MAJOR PHARMACEUTICALS INC           00904773117 1.6667
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                                                                      CHESHIRE PHARMACEUTICAL SYSTEMS    55175441701 0.4504               DRX PHARMACEUTICAL CONSULTANTS INC 55045204307 0.6967                                 DRX PHARMACEUTICAL CONSULTANTS INC 55045204307 0.6967     DRX PHARMACEUTICAL CONSULTANTS INC 55045204307 0.6967
                                                                      ASTRAZENECA LP                     00186149117 0.4378               CHESHIRE PHARMACEUTICAL SYSTEMS     55175441701 0.4729                                CHESHIRE PHARMACEUTICAL SYSTEMS     55175441701 0.4729    CHESHIRE PHARMACEUTICAL SYSTEMS     55175441701 0.4729
                                                                      ASTRAZENECA LP                     00186149104 0.4367               ASTRAZENECA LP                      00186149117 0.4378                                RUGBY LABORATORIES INC              00536267704 0.4333    RUGBY LABORATORIES INC              00536267704 0.4333
                                                                      RUGBY LABORATORIES INC             00536267704 0.4333               ASTRAZENECA LP                      00186149104 0.4367                                SANDOZ INC                          00781915093 0.4333    SANDOZ INC                          00781915093 0.4333
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC54569389900 0.4333               RUGBY LABORATORIES INC              00536267704 0.4333                                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569389900 0.4333    HL MOORE DRUG EXCHANGE              00839781610 0.4308
                                                                      HL MOORE DRUG EXCHANGE             00839781610 0.4308               SANDOZ INC                          00781915093 0.4333                                HL MOORE DRUG EXCHANGE              00839781610 0.4308    ALIGEN INDEPENDENT LABORA           00405213125 0.4293
                                                                      HL MOORE DRUG EXCHANGE             00839786018 0.4308               ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569389900 0.4333                                HL MOORE DRUG EXCHANGE              00839786018 0.4308    UNITED RESEARCH LABORATORIES INC    00677152272 0.4267
                                                                      ALIGEN INDEPENDENT LABORA          00405213125 0.4293               HL MOORE DRUG EXCHANGE              00839781610 0.4308                                ALIGEN INDEPENDENT LABORA           00405213125 0.4293    ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569389900 0.4144
                                                                      UNITED RESEARCH LABORATORIES INC   00677152272 0.4267               HL MOORE DRUG EXCHANGE              00839786018 0.4308                                UNITED RESEARCH LABORATORIES INC    00677152272 0.4267    NEPHRON PHARMACEUTICALS CORP        00487950103 0.4119
                                                                      SANDOZ INC                         00781915093 0.4231               ALIGEN INDEPENDENT LABORA           00405213125 0.4293                                HL MOORE DRUG EXCHANGE              00839786035 0.4065    NEPHRON PHARMACEUTICALS CORP        00487950160 0.4119
                                                                      MAJOR PHARMACEUTICALS INC          00904773117 0.4067               UNITED RESEARCH LABORATORIES INC    00677152272 0.4267                                QUALITEST PHARMACEUTICALS INC       00603100540 0.4056    HL MOORE DRUG EXCHANGE              00839786018 0.4067
                                                                      HL MOORE DRUG EXCHANGE             00839786035 0.4065               HL MOORE DRUG EXCHANGE              00839786035 0.4065                                IVAX PHARMACEUTICALS INC            00182801024 0.4033    HL MOORE DRUG EXCHANGE              00839786035 0.4065
                                                                      QUALITEST PHARMACEUTICALS INC      00603100540 0.4056               QUALITEST PHARMACEUTICALS INC       00603100540 0.4056                                IVAX PHARMACEUTICALS INC            00182801026 0.4033    QUALITEST PHARMACEUTICALS INC       00603100540 0.4056
                                                                      IVAX PHARMACEUTICALS INC           00182801024 0.4033               IVAX PHARMACEUTICALS INC            00182801024 0.4033                                ALIGEN INDEPENDENT LABORA           00405213131 0.4033    IVAX PHARMACEUTICALS INC            00182801024 0.4033
                                                                      DEY LP                             49502069703 0.4033               ALIGEN INDEPENDENT LABORA           00405213131 0.4033                                ALPHARMA USPD INC                   00472083123 0.4033    IVAX PHARMACEUTICALS INC            00182801026 0.4033
                                                                      DEY LP                             49502069733 0.4033               ALPHARMA USPD INC                   00472083123 0.4033                                DEY LP                              49502069703 0.4033    ALIGEN INDEPENDENT LABORA           00405213131 0.4033
                                                                      DEY LP                             49502069760 0.4033               DEY LP                              49502069703 0.4033                                DEY LP                              49502069733 0.4033    ALPHARMA USPD INC                   00472083123 0.4033
                                                                      WARRICK PHARMACEUTICALS CORP       59930150006 0.4033               DEY LP                              49502069733 0.4033                                DEY LP                              49502069760 0.4033    ALPHARMA USPD INC                   00472083130 0.4033
                                                                      WARRICK PHARMACEUTICALS CORP       59930150008 0.4033               DEY LP                              49502069760 0.4033                                NOVAPHARM                           55953020925 0.4033    DEY LP                              49502069703 0.4033
                                                                      UNITED RESEARCH LABORATORIES INC   00677152273 0.4028               NOVAPHARM                           55953020925 0.4033                                WARRICK PHARMACEUTICALS CORP        59930150006 0.4033    DEY LP                              49502069733 0.4033
                                                                      COPLEY PHARMACEUTICAL INC          38245066917 0.4000               WARRICK PHARMACEUTICALS CORP        59930150006 0.4033                                WARRICK PHARMACEUTICALS CORP        59930150008 0.4033    DEY LP                              49502069760 0.4033
                                                                                                                                          WARRICK PHARMACEUTICALS CORP        59930150008 0.4033                                UNITED RESEARCH LABORATORIES INC    00677152273 0.4028    NOVAPHARM                           55953020925 0.4033
                                                                                                                                          UNITED RESEARCH LABORATORIES INC    00677152273 0.4028                                COPLEY PHARMACEUTICAL INC           38245066917 0.4000    WARRICK PHARMACEUTICALS CORP        59930150006 0.4033
                                                                                                                                          COPLEY PHARMACEUTICAL INC           38245066917 0.4000                                ASTRAZENECA LP                      00186149104 0.3519    WARRICK PHARMACEUTICALS CORP        59930150008 0.4033
                                                                                                                                          PHYSICIANS TOTAL CARE INC           54868247201 0.1763                                ASTRAZENECA LP                      00186149117 0.3480    UNITED RESEARCH LABORATORIES INC    00677152273 0.4028
                                                                                                                                                                                                                                PHYSICIANS TOTAL CARE INC           54868247201 0.2739    COPLEY PHARMACEUTICAL INC           38245066917 0.4000
                                                                                                                                                                                                                                                                                          ASTRAZENECA LP                      00186149104 0.3519
                                                                                                                                                                                                                                                                                          ASTRAZENECA LP                      00186149117 0.3480
                                                                                                                                                                                                                                                                                          PHYSICIANS TOTAL CARE INC           54868247201 0.2460
                                                                      Generic Median Value(s):                        0.4231              Generic Median Value(s):                                           0.4065             Generic Median Value(s):                         0.4033   Generic Median Value(s):                         0.4033
                                                                                                                      0.4067                                                                                 0.4056
                                                                      Branded Manufacturer               NDC        1995                  Branded Manufacturer                NDC        1996                                   Branded Manufacturer                NDC        1997       Branded Manufacturer                NDC        1998
                                                                      CELLTECH MANUFACTURING INC         53014007525 0.5763               CELLTECH MANUFACTURING INC          53014007525 0.6597                                CELLTECH MANUFACTURING INC          53014007525 0.6597    CELLTECH MANUFACTURING INC          53014007525 0.6597
                                                                      CELLTECH MANUFACTURING INC         53014007560 0.5187               CELLTECH MANUFACTURING INC          53014007560 0.5938                                CELLTECH MANUFACTURING INC          53014007560 0.5938    CELLTECH MANUFACTURING INC          53014007560 0.5938
                                                                      SCHERING CORP                      00085020901 0.4719               SCHERING CORP                       00085020901 0.5173                                SCHERING CORP                       00085020901 0.5427    SCHERING CORP                       00085020901 0.5840
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC54569169101 0.4719               ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569169101 0.5173                                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569169101 0.5427    ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569169101 0.5840
                                                                      GLAXOSMITHKLINE                    00173041900 0.4320               GLAXOSMITHKLINE                     00173041900 0.4529                                GLAXOSMITHKLINE                     00173041900 0.4753    GLAXOSMITHKLINE                     00173041900 0.5433
                                                                                                                                  Note:
                                                                                                                                          Unit AWPs are evaluated as of June 30th of each year based on the latest AWP posted in Medispan through that year.
                                                                                                                               Sources:
                                                                                                                                          “Comprehensive Price History File,” 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                          http://www.fda.gov/cder/ndc/database/default.htm
                                                                                                                                          http://www.firstdatabank.com/customer_support/drug_pricing_policy/manufacturers_list/manufacturers_list.pdf
                                                                                                                                          http://www.ctmedicalprogram.com/misc/desi.pdf
                                                                                                                                          http://www.recalls.org/d6-99.html
                                                                                                                                          http://www.ivaxpharmaceuticals.com/aboutus.html
                                                                                                                                          http://www.allergyny.com/Treatments/Medications/Nose/Claritin.htm
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                                                                                                                                                                                            Last Recorded Medispan AWPs of Albuterol Sulfate 0.083%
                                                                      Generic Manufacturer                NDC        1999                  Generic Manufacturer                NDC        2000                                   Generic Manufacturer                NDC        2001       Generic Manufacturer                NDC        2002
                                                                      DRX PHARMACEUTICAL CONSULTANTS INC 55045204307 0.6967                DRX PHARMACEUTICAL CONSULTANTS INC 55045204307 0.6967                                 DRX PHARMACEUTICAL CONSULTANTS INC 55045204307 0.6967     DRX PHARMACEUTICAL CONSULTANTS INC 55045204307 0.6967
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                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569389900 0.6655               CHESHIRE PHARMACEUTICAL SYSTEMS     55175441701 0.4729                                CHESHIRE PHARMACEUTICAL SYSTEMS     55175441701 0.4729    CHESHIRE PHARMACEUTICAL SYSTEMS     55175441701 0.4729
                                                                      CHESHIRE PHARMACEUTICAL SYSTEMS     55175441701 0.4729               ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569389900 0.4617                                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569389900 0.4617    ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569389900 0.4617
                                                                      RUGBY LABORATORIES INC              00536267704 0.4333               RUGBY LABORATORIES INC              00536267704 0.4333                                RUGBY LABORATORIES INC              00536267704 0.4333    RUGBY LABORATORIES INC              00536267704 0.4333
                                                                      SANDOZ INC                          00781915093 0.4333               SANDOZ INC                          00781915093 0.4333                                SANDOZ INC                          00781915093 0.4333    SANDOZ INC                          00781915093 0.4333
                                                                      HL MOORE DRUG EXCHANGE              00839781610 0.4308               HL MOORE DRUG EXCHANGE              00839781610 0.4308                                HL MOORE DRUG EXCHANGE              00839781610 0.4308    HL MOORE DRUG EXCHANGE              00839781610 0.4308
                                                                      ALIGEN INDEPENDENT LABORA           00405213125 0.4293               ALIGEN INDEPENDENT LABORA           00405213125 0.4293                                ALIGEN INDEPENDENT LABORA           00405213125 0.4293    ALIGEN INDEPENDENT LABORA           00405213125 0.4293
                                                                      UNITED RESEARCH LABORATORIES INC    00677152272 0.4267               UNITED RESEARCH LABORATORIES INC    00677152272 0.4267                                UNITED RESEARCH LABORATORIES INC    00677152272 0.4267    UNITED RESEARCH LABORATORIES INC    00677152272 0.4267
                                                                      NEPHRON PHARMACEUTICALS CORP        00487950103 0.4119               ALPHARMA USPD INC                   00472083123 0.4120                                MORTON GROVE PHARMACEUTICALS INC 60432009406 0.4167       MORTON GROVE PHARMACEUTICALS INC 60432009406 0.4167
                                                                      NEPHRON PHARMACEUTICALS CORP        00487950160 0.4119               ALPHARMA USPD INC                   00472083130 0.4120                                ROXANE LABORATORIES INC             00054806311 0.4120    ROXANE LABORATORIES INC             00054806311 0.4120
                                                                      HL MOORE DRUG EXCHANGE              00839786018 0.4067               ALPHARMA USPD INC                   00472083160 0.4120                                ROXANE LABORATORIES INC             00054806313 0.4120    ROXANE LABORATORIES INC             00054806313 0.4120
                                                                      MAJOR PHARMACEUTICALS INC           00904773117 0.4067               NEPHRON PHARMACEUTICALS CORP        00487950103 0.4119                                ROXANE LABORATORIES INC             00054806321 0.4120    ROXANE LABORATORIES INC             00054806321 0.4120
                                                                      HL MOORE DRUG EXCHANGE              00839786035 0.4065               NEPHRON PHARMACEUTICALS CORP        00487950160 0.4119                                ALPHARMA USPD INC                   00472083123 0.4120    ALPHARMA USPD INC                   00472083123 0.4120
                                                                      QUALITEST PHARMACEUTICALS INC       00603100540 0.4056               IVAX PHARMACEUTICALS INC            00172640549 0.4117                                ALPHARMA USPD INC                   00472083130 0.4120    ALPHARMA USPD INC                   00472083130 0.4120
                                                                      IVAX PHARMACEUTICALS INC            00182801024 0.4033               IVAX PHARMACEUTICALS INC            00172640544 0.4100                                ALPHARMA USPD INC                   00472083160 0.4120    ALPHARMA USPD INC                   00472083160 0.4120
                                                                      IVAX PHARMACEUTICALS INC            00182801026 0.4033               HL MOORE DRUG EXCHANGE              00839786018 0.4067                                NEPHRON PHARMACEUTICALS CORP        00487950103 0.4119    ASLUNG PHARMACEUTICAL LP            65271000205 0.4117
                                                                      ALIGEN INDEPENDENT LABORA           00405213131 0.4033               MAJOR PHARMACEUTICALS INC           00904773117 0.4067                                NEPHRON PHARMACEUTICALS CORP        00487950160 0.4119    IVAX PHARMACEUTICALS INC            00172640549 0.4117
                                                                      ALPHARMA USPD INC                   00472083123 0.4033               HL MOORE DRUG EXCHANGE              00839786035 0.4065                                IVAX PHARMACEUTICALS INC            00172640549 0.4117    ASLUNG PHARMACEUTICAL LP            65271000206 0.4117
                                                                      ALPHARMA USPD INC                   00472083130 0.4033               QUALITEST PHARMACEUTICALS INC       00603100540 0.4056                                IVAX PHARMACEUTICALS INC            00172640544 0.4116    IVAX PHARMACEUTICALS INC            00172640544 0.4116
                                                                      DEY LP                              49502069703 0.4033               IVAX PHARMACEUTICALS INC            00182801024 0.4033                                HL MOORE DRUG EXCHANGE              00839786018 0.4067    HL MOORE DRUG EXCHANGE              00839786018 0.4067
                                                                      DEY LP                              49502069733 0.4033               IVAX PHARMACEUTICALS INC            00182801026 0.4033                                MAJOR PHARMACEUTICALS INC           00904773117 0.4067    MAJOR PHARMACEUTICALS INC           00904773117 0.4067
                                                                      DEY LP                              49502069760 0.4033               ALIGEN INDEPENDENT LABORA           00405213131 0.4033                                HL MOORE DRUG EXCHANGE              00839786035 0.4065    HL MOORE DRUG EXCHANGE              00839786035 0.4065
                                                                      HI TECH PHARMACAL CO INC            50383074225 0.4033               DEY LP                              49502069703 0.4033                                QUALITEST PHARMACEUTICALS INC       00603100540 0.4056    QUALITEST PHARMACEUTICALS INC       00603100540 0.4056
                                                                      NOVAPHARM                           55953020925 0.4033               DEY LP                              49502069733 0.4033                                IVAX PHARMACEUTICALS INC            00182801024 0.4033    RXELITE HOLDINGS INC                66794000130 0.4056
                                                                      WARRICK PHARMACEUTICALS CORP        59930150006 0.4033               DEY LP                              49502069760 0.4033                                IVAX PHARMACEUTICALS INC            00182801026 0.4033    RXELITE HOLDINGS INC                66794000160 0.4056
                                                                      WARRICK PHARMACEUTICALS CORP        59930150008 0.4033               HI TECH PHARMACAL CO INC            50383074225 0.4033                                ALIGEN INDEPENDENT LABORA           00405213131 0.4033    IVAX PHARMACEUTICALS INC            00182801024 0.4033
                                                                      UNITED RESEARCH LABORATORIES INC    00677152273 0.4028               NOVAPHARM                           55953020925 0.4033                                DEY LP                              49502069703 0.4033    IVAX PHARMACEUTICALS INC            00182801026 0.4033
                                                                      COPLEY PHARMACEUTICAL INC           38245066917 0.4000               WARRICK PHARMACEUTICALS CORP        59930150006 0.4033                                DEY LP                              49502069733 0.4033    ALIGEN INDEPENDENT LABORA           00405213131 0.4033
                                                                      ASTRAZENECA LP                      00186149104 0.3519               WARRICK PHARMACEUTICALS CORP        59930150008 0.4033                                DEY LP                              49502069760 0.4033    DEY LP                              49502069703 0.4033
                                                                      ASTRAZENECA LP                      00186149117 0.3480               UNITED RESEARCH LABORATORIES INC    00677152273 0.4028                                HI TECH PHARMACAL CO INC            50383074225 0.4033    DEY LP                              49502069733 0.4033
                                                                      PHYSICIANS TOTAL CARE INC           54868247201 0.2460               COPLEY PHARMACEUTICAL INC           38245066917 0.4000                                NOVAPHARM                           55953020925 0.4033    DEY LP                              49502069760 0.4033
                                                                                                                                           ASTRAZENECA LP                      00186149104 0.3519                                WARRICK PHARMACEUTICALS CORP        59930150006 0.4033    HI TECH PHARMACAL CO INC            50383074225 0.4033
                                                                                                                                           ASTRAZENECA LP                      00186149117 0.3480                                WARRICK PHARMACEUTICALS CORP        59930150008 0.4033    NOVAPHARM                           55953020925 0.4033
                                                                                                                                           PHYSICIANS TOTAL CARE INC           54868247201 0.1895                                UNITED RESEARCH LABORATORIES INC    00677152273 0.4028    WARRICK PHARMACEUTICALS CORP        59930150006 0.4033
                                                                                                                                                                                                                                 COPLEY PHARMACEUTICAL INC           38245066917 0.4000    WARRICK PHARMACEUTICALS CORP        59930150008 0.4033
                                                                                                                                                                                                                                 ASTRAZENECA LP                      00186149104 0.3519    UNITED RESEARCH LABORATORIES INC    00677152273 0.4028
                                                                                                                                                                                                                                 ASTRAZENECA LP                      00186149117 0.3480    COPLEY PHARMACEUTICAL INC           38245066917 0.4000
                                                                                                                                                                                                                                 PHYSICIANS TOTAL CARE INC           54868247201 0.1895    PHYSICIANS TOTAL CARE INC           54868247201 0.3621
                                                                                                                                                                                                                                                                                           ASTRAZENECA LP                      00186149104 0.3519
                                                                                                                                                                                                                                                                                           ASTRAZENECA LP                      00186149117 0.3480
                                                                                                                                                                                                                                                                                           NEPHRON PHARMACEUTICALS CORP        00487950101 0.2667
                                                                                                                                                                                                                                                                                           NEPHRON PHARMACEUTICALS CORP        00487950103 0.2667
                                                                                                                                                                                                                                                                                           NEPHRON PHARMACEUTICALS CORP        00487950160 0.2667
                                                                      Generic Median Value(s):                         0.4033              Generic Median Value(s):                                           0.4067             Generic Median Value(s):                         0.4116   Generic Median Value(s):                         0.4065
                                                                                                                                                                                                              0.4065                                                              0.4067
                                                                      Branded Manufacturer                NDC        1999                  Branded Manufacturer                NDC        2000                                   Branded Manufacturer                NDC        2001       Branded Manufacturer                NDC        2002
                                                                      CELLTECH MANUFACTURING INC          53014007525 0.6597               CELLTECH MANUFACTURING INC          53014007525 0.6597                                CELLTECH MANUFACTURING INC          53014007525 0.6597    SCHERING CORP                       00085020901 0.6837
                                                                      SCHERING CORP                       00085020901 0.6045               SCHERING CORP                       00085020901 0.6256                                SCHERING CORP                       00085020901 0.6509    CELLTECH MANUFACTURING INC          53014007525 0.6597
                                                                      CELLTECH MANUFACTURING INC          53014007560 0.5938               CELLTECH MANUFACTURING INC          53014007560 0.5938                                CELLTECH MANUFACTURING INC          53014007560 0.5938    CELLTECH MANUFACTURING INC          53014007560 0.5938
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569169101 0.5840               ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569169101 0.5840                                ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569169101 0.5840    ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569169101 0.5840
                                                                      GLAXOSMITHKLINE                     00173041900 0.5705               GLAXOSMITHKLINE                     00173041900 0.5763                                GLAXOSMITHKLINE                     00173041900 0.5763    GLAXOSMITHKLINE                     00173041900 0.5763
                                                                                                                                   Note:
                                                                                                                                           Unit AWPs are evaluated as of June 30th of each year based on the latest AWP posted in Medispan through that year.
                                                                                                                                Sources:
                                                                                                                                           “Comprehensive Price History File,” 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                           http://www.fda.gov/cder/ndc/database/default.htm
                                                                                                                                           http://www.firstdatabank.com/customer_support/drug_pricing_policy/manufacturers_list/manufacturers_list.pdf
                                                                                                                                           http://www.ctmedicalprogram.com/misc/desi.pdf
                                                                                                                                           http://www.recalls.org/d6-99.html
                                                                                                                                           http://www.ivaxpharmaceuticals.com/aboutus.html
                                                                                                                                           http://www.allergyny.com/Treatments/Medications/Nose/Claritin.htm
                                                                                                                                                                                                                                       Page 7 of 8
                                                                                                                               Exhibit 7B
                                                                                                         Last Recorded Medispan AWPs of Albuterol Sulfate 0.083%
                                                                      Generic Manufacturer                NDC        2003                  Generic Manufacturer                NDC        2004
                                                                      DRX PHARMACEUTICAL CONSULTANTS INC 55045204307 0.6967                DRX PHARMACEUTICAL CONSULTANTS INC 55045204307 0.6967
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                                                                      CHESHIRE PHARMACEUTICAL SYSTEMS     55175441701 0.4729               LAKE ERIE MEDICAL AND SURGICAL      49999034425 0.5645
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569389900 0.4588               CHESHIRE PHARMACEUTICAL SYSTEMS     55175441701 0.4729
                                                                      RUGBY LABORATORIES INC              00536267704 0.4333               ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569389900 0.4588
                                                                      SANDOZ INC                          00781915093 0.4333               RUGBY LABORATORIES INC              00536267704 0.4333
                                                                      HL MOORE DRUG EXCHANGE              00839781610 0.4308               SANDOZ INC                          00781915093 0.4333
                                                                      ALIGEN INDEPENDENT LABORA           00405213125 0.4293               HL MOORE DRUG EXCHANGE              00839781610 0.4308
                                                                      UNITED RESEARCH LABORATORIES INC    00677152272 0.4267               ALIGEN INDEPENDENT LABORA           00405213125 0.4293
                                                                      MORTON GROVE PHARMACEUTICALS INC 60432009406 0.4167                  UNITED RESEARCH LABORATORIES INC    00677152272 0.4267
                                                                      ROXANE LABORATORIES INC             00054806311 0.4120               MORTON GROVE PHARMACEUTICALS INC 60432009406 0.4167
                                                                      ROXANE LABORATORIES INC             00054806313 0.4120               ROXANE LABORATORIES INC             00054806311 0.4120
                                                                      ROXANE LABORATORIES INC             00054806321 0.4120               ROXANE LABORATORIES INC             00054806313 0.4120
                                                                      ALPHARMA USPD INC                   00472083123 0.4120               ROXANE LABORATORIES INC             00054806321 0.4120
                                                                      ALPHARMA USPD INC                   00472083130 0.4120               ALPHARMA USPD INC                   00472083123 0.4120
                                                                      ALPHARMA USPD INC                   00472083160 0.4120               ALPHARMA USPD INC                   00472083130 0.4120
                                                                      ASLUNG PHARMACEUTICAL LP            65271000205 0.4117               ALPHARMA USPD INC                   00472083160 0.4120
                                                                      ASLUNG PHARMACEUTICAL LP            65271000206 0.4117               ASLUNG PHARMACEUTICAL LP            65271000205 0.4117
                                                                      IVAX PHARMACEUTICALS INC            00172640549 0.4117               ASLUNG PHARMACEUTICAL LP            65271000206 0.4117
                                                                      IVAX PHARMACEUTICALS INC            00172640544 0.4116               IVAX PHARMACEUTICALS INC            00172640549 0.4117
                                                                      HL MOORE DRUG EXCHANGE              00839786018 0.4067               IVAX PHARMACEUTICALS INC            00172640544 0.4116
                                                                      MAJOR PHARMACEUTICALS INC           00904773117 0.4067               HL MOORE DRUG EXCHANGE              00839786018 0.4067
                                                                      RXELITE HOLDINGS INC                66794000125 0.4067               MAJOR PHARMACEUTICALS INC           00904773117 0.4067
                                                                      RXELITE HOLDINGS INC                66794000130 0.4067               RXELITE HOLDINGS INC                66794000125 0.4067
                                                                      RXELITE HOLDINGS INC                66794000160 0.4067               RXELITE HOLDINGS INC                66794000130 0.4067
                                                                      HL MOORE DRUG EXCHANGE              00839786035 0.4065               RXELITE HOLDINGS INC                66794000160 0.4067
                                                                      QUALITEST PHARMACEUTICALS INC       00603100540 0.4056               HL MOORE DRUG EXCHANGE              00839786035 0.4065
                                                                      IVAX PHARMACEUTICALS INC            00182801024 0.4033               QUALITEST PHARMACEUTICALS INC       00603100540 0.4056
                                                                      IVAX PHARMACEUTICALS INC            00182801026 0.4033               IVAX PHARMACEUTICALS INC            00182801024 0.4033
                                                                      ALIGEN INDEPENDENT LABORA           00405213131 0.4033               IVAX PHARMACEUTICALS INC            00182801026 0.4033
                                                                      DEY LP                              49502069703 0.4033               ALIGEN INDEPENDENT LABORA           00405213131 0.4033
                                                                      DEY LP                              49502069733 0.4033               DEY LP                              49502069703 0.4033
                                                                      DEY LP                              49502069760 0.4033               DEY LP                              49502069724 0.4033
                                                                      HI TECH PHARMACAL CO INC            50383074225 0.4033               DEY LP                              49502069729 0.4033
                                                                      NOVAPHARM                           55953020925 0.4033               DEY LP                              49502069733 0.4033
                                                                      WARRICK PHARMACEUTICALS CORP        59930150006 0.4033               DEY LP                              49502069760 0.4033
                                                                      WARRICK PHARMACEUTICALS CORP        59930150008 0.4033               DEY LP                              49502069761 0.4033
                                                                      WARRICK PHARMACEUTICALS CORP        59930151701 0.4033               HI TECH PHARMACAL CO INC            50383074225 0.4033
                                                                      WARRICK PHARMACEUTICALS CORP        59930151702 0.4033               NOVAPHARM                           55953020925 0.4033
                                                                      UNITED RESEARCH LABORATORIES INC    00677152273 0.4028               WARRICK PHARMACEUTICALS CORP        59930150006 0.4033
                                                                      COPLEY PHARMACEUTICAL INC           38245066917 0.4000               WARRICK PHARMACEUTICALS CORP        59930150008 0.4033
                                                                      PHYSICIANS TOTAL CARE INC           54868247201 0.3621               WARRICK PHARMACEUTICALS CORP        59930151701 0.4033
                                                                      ASTRAZENECA LP                      00186149104 0.3519               WARRICK PHARMACEUTICALS CORP        59930151702 0.4033
                                                                      ASTRAZENECA LP                      00186149117 0.3480               UNITED RESEARCH LABORATORIES INC    00677152273 0.4028
                                                                      NEPHRON PHARMACEUTICALS CORP        00487950101 0.2667               COPLEY PHARMACEUTICAL INC           38245066917 0.4000
                                                                      NEPHRON PHARMACEUTICALS CORP        00487950103 0.2667               PHYSICIANS TOTAL CARE INC           54868247201 0.3621
                                                                      NEPHRON PHARMACEUTICALS CORP        00487950125 0.2667               ASTRAZENECA LP                      00186149104 0.3519
                                                                      NEPHRON PHARMACEUTICALS CORP        00487950160 0.2667               ASTRAZENECA LP                      00186149117 0.3480
                                                                                                                                           NEPHRON PHARMACEUTICALS CORP        00487950101 0.2667
                                                                                                                                           NEPHRON PHARMACEUTICALS CORP        00487950103 0.2667
                                                                                                                                           NEPHRON PHARMACEUTICALS CORP        00487950125 0.2667
                                                                                                                                           NEPHRON PHARMACEUTICALS CORP        00487950160 0.2667
                                                                                                                                           PHYSICIANS TOTAL CARE INC           54868247200 0.2099
                                                                      Generic Median Value(s):                         0.4067              Generic Median Value(s):                                           0.4065
                                                                                                                                                                                                              0.4056
                                                                      Branded Manufacturer                NDC        2003                  Branded Manufacturer                NDC        2004
                                                                      SCHERING CORP                       00085180601 0.7790               SCHERING CORP                       00085180601 0.8022
                                                                      SCHERING CORP                       00085020901 0.6837               SCHERING CORP                       00085020901 0.6837
                                                                      CELLTECH MANUFACTURING INC          53014007525 0.6597               CELLTECH MANUFACTURING INC          53014007525 0.6597
                                                                      CELLTECH MANUFACTURING INC          53014007560 0.5938               CELLTECH MANUFACTURING INC          53014007560 0.5938
                                                                      ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569169101 0.5840               ALLSCRIPTS HEALTHCARE SOLUTIONS LLC 54569169101 0.5840
                                                                      GLAXOSMITHKLINE                     00173041900 0.5763               GLAXOSMITHKLINE                     00173041900 0.5763
                                                                                                                                   Note:
                                                                                                                                           Unit AWPs are evaluated as of June 30th of each year based on the latest AWP posted in Medispan through that year.
                                                                                                                                Sources:
                                                                                                                                           “Comprehensive Price History File,” 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                           http://www.fda.gov/cder/ndc/database/default.htm
                                                                                                                                           http://www.firstdatabank.com/customer_support/drug_pricing_policy/manufacturers_list/manufacturers_list.pdf
                                                                                                                                           http://www.ctmedicalprogram.com/misc/desi.pdf
                                                                                                                                           http://www.recalls.org/d6-99.html
                                                                                                                                           http://www.ivaxpharmaceuticals.com/aboutus.html
                                                                                                                                           http://www.allergyny.com/Treatments/Medications/Nose/Claritin.htm
                                                                                                                                                                                                                                       Page 8 of 8
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                                                                                                         Exhibit 8
                                                                                 Summary of Relative AWP Analysis for Schering's Accused NDCs

                                    Product          Series Date
                 NDC               Description         Range            1991          1992          1993          1994          1995    1996         1997          1998         1999             2000      2001      2002         2003   2004

ALBUTEROL:
        59930150006            NEB 0.083%          1994-2004
        59930150008            NEB 0.083%          1994-2004
        59930151701            NEB 0.083%          2003-2004
        59930151702            NEB 0.083%          2003-2004
        59930151504            NEB 0.5%            1994-2004
        59930164702            NEB 0.5%            2003-2004

TEMODAR: 1
        00085125901            CAP 100MG           2000-2004
        00085125902            CAP 100MG           2000-2004
                          2
            00085124401        CAP 20MG            2000-2004
                          2
            00085124402        CAP 20MG            2000-2004
                          2
            00085125201        CAP 250MG           2000-2004
                          2
            00085125202        CAP 250MG           2000-2004
            00085124801 2      CAP 5MG             2000-2004
            00085124802 2      CAP 5MG             2000-2004

PROVENTIL:
        00085020901            NEB 0.083%          1991-2004
        00085180601            NEB 0.083%          2003-2004
        00085020802            NEB 0.5%            1991-2004
        00085133601            NEB 0.5%            2004

INTRON A:
                          2
            00085012002        INJ 5MU             1991-2004
            00085012003 2      INJ 5MU             1992-2004
            00085012004 2      INJ 5MU             1993-2004
                          2
            00085012005        INJ 5MU             1996-2004
                          2
            00085028502        INJ 25MU            1991-2004
                          2
            00085053901        INJ 50MU            1991-2004
                          2
            00085057102        INJ 10MU            1991-2004
                          2
            00085057106        INJ 10MU            1993-2004
                          2
            00085064703        INJ 3MU             1991-2004
            00085064704 2      INJ 3MU             1991-2004
            00085064705 2      INJ 3MU             1991-2004
            00085068901        INJ 18MU            1993-2004
                          2
            00085076901        INJ 25MU/5ML        1993-2004
                          2
            00085092301        INJ 10MU/2ML        1993-2004
            00085095301        INJ 18MU/3ML        1995-2004
            00085111001        INJ 18MU            1996-2004
            00085113301 2      INJ 25MU            1997-2004
            00085116801        INJ 18MU            1997-2004
                          2
            00085117901        INJ 10MU/ML         1997-2004
                          2
            00085117902        KIT 10MU/ML         1997-2004
                          2
            00085118401        INJ 3MU/0.5         1997-2004
            00085118402        KIT 3MU/0.5         1997-2004
            00085119101 2      INJ 5MU/0.5         1997-2004
            00085119102 2      KIT 5MU/0.5         1997-2004
                          2
            00085123501        INJ 5MU PEN         1999-2004
                          2
            00085124201        INJ 3MU PEN         1999-2004
            00085125401 2      INJ 10MU PEN        1999-2004



                       Notes: -- The unit AWPs are as of June 30th for each year.
                               -- For purposes of this analysis: "non-Schering-Plough" excludes Schering and Warrick products; for the branded analysis (Temodar, Proventil, and Intron A), "non-accused" excludes
                               the products listed by name in the "Third Amended Master Consolidated Class Action Complaint"; for the generic analysis (albuterol), "non-accused" excludes all
                               chemically equivalent products of an accused manufacturer.
                              1
                                  Although Gleevec is not included in the contract markets, it has been included in this analysis.
                              2
                                  There is no non-accused, non-Schering-Plough NDC with the same product description as this NDC.

    Key (in order of priority): Generics
                                                   There is a non-accused, non-Schering-Plough NDC with a higher AWP and the same product description within the same contract market.
                                                   No AWP information.
                               Branded
                                                   Schering's AWP changed and there is a non-accused, non-Schering-Plough NDC that grows faster and has the same product description within the same contract market.
                                                   Schering's AWP changed and there is a non-accused, non-Schering-Plough NDC that grows faster in the same contract market.
                                                   Schering's AWP did not change and there is a non-accused, non-Schering-Plough NDC with the same product description within the same contract market whose AWP did change.
                                                   Schering's AWP did not change and there are no non-accused, non-Schering-Plough NDCs with the same product description within the same contract market whose AWP did change.
                                                   There is a non-accused, non-Schering-Plough NDC with a higher AWP with the same product description within the same contract market.
                                                   There is a non-accused, non-Schering-Plough NDC with a higher AWP in the same contract market.
                                                   No AWP information.
                                                   This NDC does not belong in any of the above categories.

                      Source: "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                              Schering Contracts.
                              "Third Amended Master Consolidated Class Action Complaint Amended to Comply with Court’s Class Certification Order, Redacted Version."
                              "Declaration of Raymond S. Hartman in Support of Plaintiffs' Claims of Liability and Calcu[l]ation of Damages," December 15, 2005.
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                                                Exhibit 9A
                                    Spreads Reported in Public Documents
                                                 Albuterol


                                                                 Publication          AWP-Base          ASP-Base
                                                                                                 1                 2
                 Apparent Type of Transaction                         Date             Spread            Spread
                                           ------------------------------------------------------(Percent)------------------------------------------------------
                             (a)                                       (b)                 (c)               (d)

                                3
       Pharmacy to Supplier                                               6/1996              43 %                74 %
       Wholesaler to Supplier 3                                           6/1996              50                 100
       Manufacturer to Supplier 3                                         6/1996              65                 186
                            4,5
       Manufacturer to PBG                                                6/1996              56                 126
       Manufacturer to PBG 4,5                                            6/1996              58                 139
       Manufacturer to PBG 4,5                                            6/1996              63                 169
       Manufacturer to PBG 4,5                                            6/1996              65                 187
       Manufacturer to PBG 4,5                                            6/1996              70                 231
       Wholesaler to Physician/Supplier (Min) 6                          12/1997              54                 116
       Wholesaler to Physician/Supplier (Max) 6                          12/1997              64                 180
       Department of Veterans Affairs Price (Min) 7                       8/1998              36                  56
       Department of Veterans Affairs Price (Max) 7                       8/1998              85                 550
       GPO Negotiated Price (Min) 7                                       8/1998              51                 105
       GPO Negotiated Price (Max) 7                                       8/1998              74                 290
       Wholesaler Price (Min) 7                                           8/1998              64                 179
       Wholesaler Price (Max) 7                                           8/1998              77                 333
       Department of Veterans Affairs Median Price 8                      6/2000              85                 571
       Wholesaler/GPO to Physician/Supplier 9                             1/2001              72                 261
       Department of Veterans Affairs Price 9                             1/2001              85                 571
       Wholesaler/GPO to DME Pharmacy Supplier 10                         9/2001              85                 567
       Median Wholesale Acquisition Cost 11                               3/2002              77                 327
       Supplier Invoice Median Price 11                                   3/2002              81                 422
                                        11
       Wholesale Catalog Median Price                                     3/2002              83                 488
       Department of Veterans Affairs Median Price 11                     3/2002              89                 840
                                            12
       Wholesaler/Distributor Median Price                                1/2004              87                 683
       GPO Median Price 12                                                1/2004              87                 683
       Department of Veterans Affairs Median Price 12                     1/2004              89                 840



  Notes:
  -- Numbers may differ slightly due to rounding.
  -- "GPO" refers to a Group Purchasing Organization.
   1
       AWP-base indicates that spread was calculated according to the formula SAWP = (AWP-ASP)/AWP.
   2
       ASP-base indicates that spread was calculated according to the formula SASP = (AWP-ASP)/ASP.
       ASP-base spreads can be converted from AWP-base spreads with the formula SASP = SAWP/(1-SAWP).
   3
       The spread is calculated based on the difference between suppliers' "cost estimates per ml" and "Medicare's
       lowest reimbursement per ml of albuterol sulfate during the sample period."



                                                            1 of 2
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                                              Exhibit 9A
                                  Spreads Reported in Public Documents
                                               Albuterol


       (See ''Suppliers’ Acquisition Costs For Albuterol Sulfate," Department of Health and Human
       Services, Office of Inspector General, June 1996, OEI-03-94-00393. Def. Ex. 1065.)
   4
       "PBG" refers to a Pharmaceutical Buying Group.
   5
       The spread is calculated based on the difference between "prices for generic versions of albuterol sulfate"
       charged by pharmaceutical buying groups and "the amount that Medicare allows."
       (See "A Comparison of Albuterol Sulfate Prices," Department of Health and Human
       Services, Office of Inspector General, June 1996, OEI-03-94-00392. Def. Ex. 1064.)
   6
       The spread is calculated based on the difference between the "actual average wholesale price" available
       to physicians and prescription drug suppliers and the "average Medicare allowed amount" for albuterol
       sulfate.
       (See "Excessive Medicare Payments for Prescription Drugs," Department of Health and
       Human Services, Office of Inspector General, December 1997, OEI-03-97-00290. Def. Ex. 1075A.)
   7
       The spread is calculated based on the difference between various prices for albuterol sulfate and
       Medicare's reimbursement amount.
       (See "Are Medicare Allowances for Albuterol Sulfate Reasonable?," Department of Health
       and Human Services, Office of Inspector General, August 1998, OEI-03-97-00292. Def. Ex. 1078A.)
   8
       The spread is calculated based on the difference between the median price for albuterol and Medicare's
       reimbursement amount.
       (See "Medicare Reimbursement of Albuterol," Department of Health and Human Services,
       Office of Inspector General, June 2000, OEI-03-00-00311. Def. Ex. 1084A.)
   9
       The spread is calculated based on the difference between "costs incurred by the Department of Veterans
       Affairs" and "the physician/supplier community" and "Medicare reimbursement" for albuterol sulfate.
       (See "Medicare Reimbursement of Prescription Drugs," Department of Health and Human Services,
       Office of Inspector General, January 2001, OEI-03-00-00310. Def. Ex. 1094.)
  10
       The spread is calculated based on the difference between prices for albuterol "available from wholesalers
       and GPOs" and "the AWPs used to establish the Medicare payment" for the unit dose form of albuterol.
       (See "Medicare: Payments for Covered Outpatient Drugs Exceed Providers' Cost," United States General
       Accounting Office, Report to Congressional Committees, September 2001, GAO-01-1118. Def. Ex. 1098.)
  11
       The spread is calculated based on the difference between the "median price" of generic albuterol and
       Medicare's reimbursement amount.
       (See "Excessive Medicare Reimbursement for Albuterol," Department of Health and Human Services,
       Office of Inspector General, March 2002, OEI-03-01-00410. Def. Ex. 1103.)
  12
       The spread is calculated based on the difference between the median price for albuterol and Medicare's
       reimbursement amount.
       (See "Update: Excessive Medicare Reimbursement For Albuterol," Department of Health and Human
       Services, Office of Inspector General, January 2004, OEI-03-03-00510. Def. Ex. 1115.)

  Sources:
    See reports cited in notes.




                                                         2 of 2
                                                                                                                                                                   Exhibit 9B
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                                                                                                                                                       Spreads Reported in Public Documents
                                                                                                                                                                    Albuterol
                                                                                                                                                              AWP-Base v. ASP-Base
                                                                                   900
                                                                                   800
                                                                                                      AWP-Base
                                                                                   700                ASP-Base
                                                                                   600
                                                                      Spread (%)




                                                                                   500
                                                                                   400
                                                                                   300
                                                                                   200
                                                                                   100
                                                                                    0
                                                                                           1      2       3       4       5       6       7       8      9      10      11      12      13      14      15      16     17      18      19      20      21      22      23     24      25   26   27
                                                                                                                                                                                             Series
                                                                              Notes:
                                                                              -- AWP-base indicates that spread was calculated according to the formula SAWP = (AWP-ASP)/AWP.
                                                                              -- ASP-base indicates that spread was calculated according to the formula SASP = (AWP-ASP)/ASP. ASP-base spreads can be converted from AWP-base spreads with the formula SASP = SAWP/(1-SAWP).
                                                                              Sources:
                                                                              -- "Suppliers' Acquisition Costs For Albuterol Sulfate," Department of Health and Human Services, Office of Inspector General, June 1996, OEI-03-94-00393. Def. Ex. 1065.
                                                                              -- "A Comparison of Albuterol Sulfate Prices," Department of Health and Human Services, Office of Inspector General, June 1996, OEI-03-94-00392. Def. Ex. 1064.
                                                                              -- "Excessive Medicare Payments for Prescription Drugs," Department of Health and Human Services, Office of Inspector General, December 1997, OEI-03-97-00290. Def. Ex. 1075A.
                                                                              -- "Are Medicare Allowances for Albuterol Sulfate Reasonable?," Department of Health and Human Services, Office of Inspector General, August 1998, OEI-03-97-00292. Def. Ex. 1078A.
                                                                              -- "Medicare Reimbursement of Albuterol," Department of Health and Human Services, Office of Inspector General, June 2000, OEI-03-00-00311. Def. Ex. 1084A.
                                                                              -- "Medicare Reimbursement of Prescription Drugs," Department of Health and Human Services, Office of Inspector General, January 2001, OEI-03-00-00310. Def. Ex. 1094.
                                                                              -- "Medicare: Payments for Covered Outpatient Drugs Exceed Providers' Cost," United States General Accounting Office, Report to Congressional Committees, September 2001, GAO-01-1118. Def. Ex. 1098.
                                                                              -- "Excessive Medicare Reimbursement for Albuterol," Department of Health and Human Services, Office of Inspector General, March 2002, OEI-03-01-00410. Def. Ex. 1103.
                                                                              -- "Update: Excessive Medicare Reimbursement For Albuterol," Department of Health and Human Services, Office of Inspector General, January 2004, OEI-03-03-00510. Def. Ex. 1115.
                                                                                                                                                                                         1 of 2
                                                                                                                                            Exhibit 9B
                                                                                                                                Spreads Reported in Public Documents
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                                                                                                                                             Albuterol
                                                                                                                                      AWP-Base v. ASP-Base
                                                                      Exhibit 9B: Series Key
                                                                         1 Pharmacy to Supplier 6/1996
                                                                         2 Wholesaler to Supplier 6/1996
                                                                         3 Manufacturer to Supplier 6/1996
                                                                         4 Manufacturer to PBG 6/1996
                                                                         5 Manufacturer to PBG 6/1996
                                                                         6 Manufacturer to PBG 6/1996
                                                                         7 Manufacturer to PBG 6/1996
                                                                         8 Manufacturer to PBG 6/1996
                                                                         9 Wholesaler to Physician/Supplier (Min) 12/1997
                                                                        10 Wholesaler to Physician/Supplier (Max) 12/1997
                                                                        11 Department of Veterans Affairs Price (Min) 8/1998
                                                                        12 Department of Veterans Affairs Price (Max) 8/1998
                                                                        13 GPO Negotiated Price (Min) 8/1998
                                                                        14 GPO Negotiated Price (Max) 8/1998
                                                                        15 Wholesaler Price (Min) 8/1998
                                                                        16 Wholesaler Price (Max) 8/1998
                                                                        17 Department of Veterans Affairs Median Price 6/2000
                                                                        18 Wholesaler/GPO to Physician/Supplier 1/2001
                                                                        19 Department of Veterans Affairs Price 1/2001
                                                                        20 Wholesaler/GPO to DME Pharmacy Supplier 9/2001
                                                                        21 Median Wholesale Acquisition Cost 3/2002
                                                                        22 Supplier Invoice Median Price 3/2002
                                                                        23 Wholesale Catalog Median Price 3/2002
                                                                        24 Department of Veterans Affairs Median Price 3/2002
                                                                        25 Wholesaler/Distributor Median Price 1/2004
                                                                        26 GPO Median Price 1/2004
                                                                        27 Department of Veterans Affairs Median Price 1/2004
                                                                                                                                         2 of 2
                                                                                                                                            Exhibit 10
                                                                                                      Comparison of Estimated Monthly Medicare Reimbursements for Albuterol Sulfate Solution
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                                                                                                                                0.5% (J7618/J7611): 2004 v. 2005
                                                                                                                                     30-day Supply of 225mg
                                                                                                 80
                                                                                                 70
                                                                                                 60
                                                                         Medicare Payments ($)




                                                                                                 50
                                                                                                 40
                                                                                                 30
                                                                                                 20
                                                                                                 10
                                                                                                  0
                                                                                                                         2004                                        Year                                       2005
                                                                                                                                                 Drug Reimbursement             Dispensing Fee
                                                                      Notes:
                                                                      -- "The usual dosage for adults and pediatric patients 12 years of age and older is 2.5 mg of albuterol administered 3 to 4 times daily by nebulization." This is equivalent to 225mg to
                                                                      300mg of albuterol sulfate for 30 days. (See e.g., "Proventil Solution for Inhalation 0.5% Drug Information Proventil Solution for Inhalation 0.5%.")
                                                                      -- In 2004 "Medicare paid a monthly $5 dispensing fee for each covered nebulizer drug or combination of drugs used," and in 2005 the dispensing fee "for a 30-day supply of
                                                                      inhalation drugs was $57." (See Federal Register, 42 CFR Part 405, et al., August 8, 2005, pp. 45847-48.)
                                                                      Sources:
                                                                      -- Centers for Medicare and Medicaid Services 2005 ASP Drug Pricing Files, http://www.cms.hhs.gov/McrPartBDrugAvgSalesPrice/02a_2005aspfiles.asp.
                                                                      -- Centers for Medicare and Medicaid Services, Medicare Region B DMERC, HCPCS Update - 2005,
                                                                      http://www.adminastar.com/News/DMERCNews/files/DMERC_HCPCSUpdate2005.pdf.
                                                                      -- "DMERC Region D Nebulizer Fees for 2004 - Effective 01/01/2004," CIGNA Government Services, http://www.cignamedicare.com/dmerc/fsch/2004/Q1/Q1_NEB.html (not
                                                                      available online).
                                                                      -- Federal Register, 42 CFR Part 405, et al., August 8, 2005, pp. 45847-48.
                                                                      -- "PalmettoGBA.com - Providers/DMERC/Publications/Fee Schedules/2004 and Prior (2004 Drug Fee Update),"
                                                                      http://www.pgba.com/palmetto/providers_a.nsf/f45451e08e6ffeda852569ee00005c6d/85256d57005ba23b85256e15004e5425?OpenDocument.
                                                                      -- 2006 HCPCS Alpha-Numeric Code List, http://www.cms.hhs.gov/HCPCSReleaseCodeSets/ANHCPCS/itemdetail.asp?filterType=none&filterByDID=-
                                                                      99&sortByDID=1&sortOrder=descending&itemID=CMS049565
                                                                                                                                                             Exhibit 11A
                                                                      NDCs/Years Where Dr. Hartman Finds Liability for Branded Products in Class 3
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                                                                      Dr. Hartman's AWPs
                                                                      NDC           Drug        Description                              1991       1992      1993      1994      1995      1996      1997      1998      1999      2000      2001      2002        2003       2004
                                                                      00085123501   Intron      INTRON A FOR INJ MULTIDOSE PEN                                                                                                              409.90     426.29      469.80    488.59
                                                                      00085124201   Intron      INTRON A FOR INJ MULTIDOSE PEN                                                                                                              245.93     255.77
                                                                      00085125401   Intron      INTRON A FOR INJ MULTIDOSE PEN                                                                                                                                               977.20
                                                                      00085116801   Intron      INTRON A INJ 18MIU HSA FREE                                                                                   209.58                        245.93                           293.14
                                                                      00085113301   Intron      INTRON A INJ 25MIU HSA FREE                                                                                                                 341.59                 391.51    407.17
                                                                      00085118401   Intron      INTRON A INJ 3MIU HSA FREE
                                                                      00085118402   Intron      INTRON A INJ 3MIU HSA FREE                                                                                                        239.93               255.77
                                                                      00085119101   Intron      INTRON A INJ 5MIU HSA FREE
                                                                      00085119102   Intron      INTRON A INJ 5MIU HSA FREE                                                                                                        399.90
                                                                      00085117901   Intron      INTRON A INJ PAK10MIU HSA FREE
                                                                      00085117902   Intron      INTRON A INJ PAK10MIU HSA FREE                                                                                                              819.80
                                                                      00085057102   Intron      INTRON A INJECTABLE 10MILLN IU           84.79     89.88
                                                                      00085057106   Intron      INTRON A INJECTABLE 10MILLN IU                    574.33    574.33    597.30
                                                                      00085111001   Intron      INTRON A INJECTABLE 18MILLN IU                                                                                                              245.93                 281.87    293.14
                                                                      00085028502   Intron      INTRON A INJECTABLE 25MILLN IU          204.00    224.70    239.30                                                                                     355.25
                                                                      00085064703   Intron      INTRON A INJECTABLE 3MILLN IU
                                                                      00085064704   Intron      INTRON A INJECTABLE 3MILLN IU
                                                                      00085064705   Intron      INTRON A INJECTABLE 3MILLN IU                     161.78    172.30                                                                          239.93
                                                                      00085012002   Intron      INTRON A INJECTABLE 5 MILLN IU           48.80
                                                                      00085012003   Intron      INTRON A INJECTABLE 5 MILLN IU           44.94     44.94
                                                                      00085012004   Intron      INTRON A INJECTABLE 5 MILLN IU                    670.06    670.06    696.86              735.19
                                                                      00085012005   Intron      INTRON A INJECTABLE 5 MILLN IU
                                                                      00085053901   Intron      INTRON A INJECTABLE 50MILLN IU                    449.40    478.61                                                                          683.16                 783.01    814.33
                                                                      00085068901   Intron      INTRON A INJECTION 18 MIU                         172.30                                  179.18
                                                                      00085092301   Intron      INTRON A SOL FOR INJ 10 MILLI                                                   199.10
                                                                      00085076901   Intron      INTRON A SOL. FOR INJ. 25MILLN                                                                      262.57
                                                                      00085095301   Intron      INTRON A SOLUTION 18MIU 3ML
                                                                      00085133601   Proventil   PROVENTIL INHALATION SOLUTION
                                                                      00085020901   Proventil   PROVENTIL SOLUTION .083MG/ML                       35.39     35.39               35.39     36.98     40.70                                    48.82
                                                                      00085180601   Proventil   PROVENTIL SOLUTION .083MG/ML                                                                                                                                        53.84     55.45
                                                                      00085020802   Proventil   PROVENTIL SOLUTION 5MG/ML                          15.53     15.53     15.53     15.53     16.23     17.85                                              22.50
                                                                      00085125901   Temodar     TEMODAR 100MG
                                                                      00085125902   Temodar     TEMODAR 100MG                                                                                                                                                               3,345.89
                                                                      00085124401   Temodar     TEMODAR 20MG                                                                                                                                                                  167.27
                                                                      00085124402   Temodar     TEMODAR 20MG                                                                                                                                                                  669.08
                                                                      00085125201   Temodar     TEMODAR 250MG
                                                                      00085125202   Temodar     TEMODAR 250MG                                                                                                                              6,367.25 7,096.81 7,745.10
                                                                      00085124801   Temodar     TEMODAR 5MG
                                                                      00085124802   Temodar     TEMODAR 5MG                                                                                                                                                        154.88    167.27
                                                                                                                            Sources: "Attachment I.4: Schering-Plough Drugs Subject to Liability" in "Direct Testimony of Raymond S. Hartman", November 1, 2006.
                                                                                                                                     "Attachment G.4.b: Schering-Plough Annual AWPs" in "Direct Testimony of Raymond S. Hartman", November 1, 2006.
                                                                                                                                                             Exhibit 11B
                                                                      NDCs/Years Where Dr. Hartman Finds Liability for Branded Products in Class 3
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                                                                      "ASPs" for Sales to Full Line Wholesalers
                                                                      NDC           Drug        Description                              1991      1992       1993      1994       1995      1996       1997      1998       1999       2000      2001       2002      2003       2004
                                                                      00085123501   Intron      INTRON A FOR INJ MULTIDOSE PEN                                                                                                                  341.44     358.64    386.75     396.01
                                                                      00085124201   Intron      INTRON A FOR INJ MULTIDOSE PEN                                                                                                                  204.70     214.18
                                                                      00085125401   Intron      INTRON A FOR INJ MULTIDOSE PEN                                                                                                                                                  790.24
                                                                      00085116801   Intron      INTRON A INJ 18MIU HSA FREE                                                                                      171.60                         203.01                          238.89
                                                                      00085113301   Intron      INTRON A INJ 25MIU HSA FREE                                                                                                                     283.34               324.38     329.30
                                                                      00085118401   Intron      INTRON A INJ 3MIU HSA FREE
                                                                      00085118402   Intron      INTRON A INJ 3MIU HSA FREE                                                                                                            184.70               213.63
                                                                      00085119101   Intron      INTRON A INJ 5MIU HSA FREE
                                                                      00085119102   Intron      INTRON A INJ 5MIU HSA FREE                                                                                                            308.81
                                                                      00085117901   Intron      INTRON A INJ PAK10MIU HSA FREE
                                                                      00085117902   Intron      INTRON A INJ PAK10MIU HSA FREE                                                                                                                  679.47
                                                                      00085057102   Intron      INTRON A INJECTABLE 10MILLN IU          69.86      74.28
                                                                      00085057106   Intron      INTRON A INJECTABLE 10MILLN IU                              475.58    496.53
                                                                      00085111001   Intron      INTRON A INJECTABLE 18MILLN IU                                                                                                                  203.24               229.96     238.06
                                                                      00085028502   Intron      INTRON A INJECTABLE 25MILLN IU         175.40    185.56     196.76                                                                                         296.25
                                                                      00085064703   Intron      INTRON A INJECTABLE 3MILLN IU
                                                                      00085064704   Intron      INTRON A INJECTABLE 3MILLN IU
                                                                      00085064705   Intron      INTRON A INJECTABLE 3MILLN IU                    134.24     142.04                                                                              202.35
                                                                      00085012002   Intron      INTRON A INJECTABLE 5 MILLN IU          35.04
                                                                      00085012003   Intron      INTRON A INJECTABLE 5 MILLN IU                     37.39
                                                                      00085012004   Intron      INTRON A INJECTABLE 5 MILLN IU                              555.18    579.65               612.66
                                                                      00085012005   Intron      INTRON A INJECTABLE 5 MILLN IU
                                                                      00085053901   Intron      INTRON A INJECTABLE 50MILLN IU                   371.89     399.79                                                                              570.66               648.23     664.43
                                                                      00085068901   Intron      INTRON A INJECTION 18 MIU                                                                  157.53
                                                                      00085092301   Intron      INTRON A SOL FOR INJ 10 MILLI                                                     86.47
                                                                      00085076901   Intron      INTRON A SOL. FOR INJ. 25MILLN                                                                        232.12
                                                                      00085095301   Intron      INTRON A SOLUTION 18MIU 3ML
                                                                      00085133601   Proventil   PROVENTIL INHALATION SOLUTION
                                                                      00085020901   Proventil   PROVENTIL SOLUTION .083MG/ML                       25.06     22.56                28.21      29.64     30.67                                     40.35
                                                                      00085180601   Proventil   PROVENTIL SOLUTION .083MG/ML                                                                                                                                           44.42     45.35
                                                                      00085020802   Proventil   PROVENTIL SOLUTION 5MG/ML                          11.51      9.55      12.02     12.08      12.65     13.69                                                16.37
                                                                      00085125901   Temodar     TEMODAR 100MG
                                                                      00085125902   Temodar     TEMODAR 100MG                                                                                                                                                                  2,654.67
                                                                      00085124401   Temodar     TEMODAR 20MG                                                                                                                                                                     133.39
                                                                      00085124402   Temodar     TEMODAR 20MG                                                                                                                                                                     535.74
                                                                      00085125201   Temodar     TEMODAR 250MG
                                                                      00085125202   Temodar     TEMODAR 250MG                                                                                                                                  5,277.90 5,889.37 6,124.20
                                                                      00085124801   Temodar     TEMODAR 5MG
                                                                      00085124802   Temodar     TEMODAR 5MG                                                                                                                                                          127.14     135.53
                                                                                                                             Notes: - Sales exclude non-sales transactions, and do not include rebates found in the rebates files. If sales dollars for a particular NDC and
                                                                                                                                    customer number for the whole year were negative, they were dropped.
                                                                                                                                    -"ASP" is calculated by customer as identified by customer number and COT.
                                                                                                                           Sources: Schering Sales Data.
                                                                                                                                    "Attachment I.4: Schering-Plough Drugs Subject to Liability" in "Direct Testimony of Raymond S. Hartman", November 1, 2006.
                                                                                                                                                             Exhibit 11C
                                                                      NDCs/Years Where Dr. Hartman Finds Liability for Branded Products in Class 3
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                                                                      "Spreads" Based on "ASPs" for Sales to Full Line Wholesalers and Dr. Hartman's AWPs
                                                                      NDC           Drug        Description                              1991      1992       1993      1994       1995      1996       1997      1998       1999      2000       2001      2002       2003      2004
                                                                      00085123501   Intron      INTRON A FOR INJ MULTIDOSE PEN                                                                                                                  20.1%      18.9%     21.5%       23.4%
                                                                      00085124201   Intron      INTRON A FOR INJ MULTIDOSE PEN                                                                                                                  20.1%      19.4%
                                                                      00085125401   Intron      INTRON A FOR INJ MULTIDOSE PEN                                                                                                                                                   23.7%
                                                                      00085116801   Intron      INTRON A INJ 18MIU HSA FREE                                                                                      22.1%                          21.1%                            22.7%
                                                                      00085113301   Intron      INTRON A INJ 25MIU HSA FREE                                                                                                                     20.6%                20.7%       23.6%
                                                                      00085118401   Intron      INTRON A INJ 3MIU HSA FREE
                                                                      00085118402   Intron      INTRON A INJ 3MIU HSA FREE                                                                                                            29.9%                19.7%
                                                                      00085119101   Intron      INTRON A INJ 5MIU HSA FREE
                                                                      00085119102   Intron      INTRON A INJ 5MIU HSA FREE                                                                                                            29.5%
                                                                      00085117901   Intron      INTRON A INJ PAK10MIU HSA FREE
                                                                      00085117902   Intron      INTRON A INJ PAK10MIU HSA FREE                                                                                                                  20.7%
                                                                      00085057102   Intron      INTRON A INJECTABLE 10MILLN IU         21.4%      21.0%
                                                                      00085057106   Intron      INTRON A INJECTABLE 10MILLN IU                              20.8%      20.3%
                                                                      00085111001   Intron      INTRON A INJECTABLE 18MILLN IU                                                                                                                  21.0%                22.6%       23.1%
                                                                      00085028502   Intron      INTRON A INJECTABLE 25MILLN IU         16.3%      21.1%     21.6%                                                                                          19.9%
                                                                      00085064703   Intron      INTRON A INJECTABLE 3MILLN IU
                                                                      00085064704   Intron      INTRON A INJECTABLE 3MILLN IU
                                                                      00085064705   Intron      INTRON A INJECTABLE 3MILLN IU                     20.5%     21.3%                                                                               18.6%
                                                                      00085012002   Intron      INTRON A INJECTABLE 5 MILLN IU         39.3%
                                                                      00085012003   Intron      INTRON A INJECTABLE 5 MILLN IU                    20.2%
                                                                      00085012004   Intron      INTRON A INJECTABLE 5 MILLN IU                              20.7%      20.2%                20.0%
                                                                      00085012005   Intron      INTRON A INJECTABLE 5 MILLN IU
                                                                      00085053901   Intron      INTRON A INJECTABLE 50MILLN IU                    20.8%     19.7%                                                                               19.7%                20.8%       22.6%
                                                                      00085068901   Intron      INTRON A INJECTION 18 MIU                                                                   13.7%
                                                                      00085092301   Intron      INTRON A SOL FOR INJ 10 MILLI                                                   130.3%
                                                                      00085076901   Intron      INTRON A SOL. FOR INJ. 25MILLN                                                                        13.1%
                                                                      00085095301   Intron      INTRON A SOLUTION 18MIU 3ML
                                                                      00085133601   Proventil   PROVENTIL INHALATION SOLUTION
                                                                      00085020901   Proventil   PROVENTIL SOLUTION .083MG/ML                      41.2%     56.9%                25.5%      24.8%     32.7%                                     21.0%
                                                                      00085180601   Proventil   PROVENTIL SOLUTION .083MG/ML                                                                                                                                         21.2%       22.3%
                                                                      00085020802   Proventil   PROVENTIL SOLUTION 5MG/ML                         35.0%     62.5%      29.2%     28.5%      28.3%     30.4%                                                37.5%
                                                                      00085125901   Temodar     TEMODAR 100MG
                                                                      00085125902   Temodar     TEMODAR 100MG                                                                                                                                                                    26.0%
                                                                      00085124401   Temodar     TEMODAR 20MG                                                                                                                                                                     25.4%
                                                                      00085124402   Temodar     TEMODAR 20MG                                                                                                                                                                     24.9%
                                                                      00085125201   Temodar     TEMODAR 250MG
                                                                      00085125202   Temodar     TEMODAR 250MG                                                                                                                                   20.6%      20.5%     26.5%
                                                                      00085124801   Temodar     TEMODAR 5MG
                                                                      00085124802   Temodar     TEMODAR 5MG                                                                                                                                                          21.8%       23.4%
                                                                                                                             Notes: - Highlighted NDCs are greater than 30 percent.
                                                                                                                                    - Dr. Hartman's AWP for Intron-A 00085092301 is listed as $199.10 in 1995, which is approximately twice the AWP for all other years in the
                                                                                                                                      given period. Medispan lists the AWP as $105.02 and Redbook lists the AWP as $99.55.
                                                                                                                           Sources: Schering Sales Data.
                                                                                                                                    Exhibit 11B - "'ASPs' for Sales to Full Line Wholesalers".
                                                                                                                                    "Attachment I.4: Schering-Plough Drugs Subject to Liability" in "Direct Testimony of Raymond S. Hartman", November 1, 2006.
                                                                                                                                    "Attachment G.4.b: Schering-Plough Annual AWPs" in "Direct Testimony of Raymond S. Hartman", November 1, 2006.
                                                                                                                                    "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                    1995 Redbook.
                                                                                                                                                          Exhibit 11D
                                                                      NDCs/Years Where Dr. Hartman Finds Liability for Branded Products in Class 3
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                                                                      Instances Where "Spreads" Exceed 30 Percent
                                                                      NDC          Drug       Description                             1991      1992      1993      1994       1995      1996      1997      1998      1999      2000      2001      2002       2003   2004
                                                                      00085123501 Intron      INTRON A FOR INJ MULTIDOSE PEN
                                                                      00085124201 Intron      INTRON A FOR INJ MULTIDOSE PEN
                                                                      00085125401 Intron      INTRON A FOR INJ MULTIDOSE PEN
                                                                      00085116801 Intron      INTRON A INJ 18MIU HSA FREE
                                                                      00085113301 Intron      INTRON A INJ 25MIU HSA FREE
                                                                      00085118401 Intron      INTRON A INJ 3MIU HSA FREE
                                                                      00085118402 Intron      INTRON A INJ 3MIU HSA FREE
                                                                      00085119101 Intron      INTRON A INJ 5MIU HSA FREE
                                                                      00085119102 Intron      INTRON A INJ 5MIU HSA FREE
                                                                      00085117901 Intron      INTRON A INJ PAK10MIU HSA FREE
                                                                      00085117902 Intron      INTRON A INJ PAK10MIU HSA FREE
                                                                      00085057102 Intron      INTRON A INJECTABLE 10MILLN IU
                                                                      00085057106 Intron      INTRON A INJECTABLE 10MILLN IU
                                                                      00085111001 Intron      INTRON A INJECTABLE 18MILLN IU
                                                                      00085028502 Intron      INTRON A INJECTABLE 25MILLN IU
                                                                      00085064703 Intron      INTRON A INJECTABLE 3MILLN IU
                                                                      00085064704 Intron      INTRON A INJECTABLE 3MILLN IU
                                                                      00085064705 Intron      INTRON A INJECTABLE 3MILLN IU
                                                                      00085012002 Intron      INTRON A INJECTABLE 5 MILLN IU          X
                                                                      00085012003 Intron      INTRON A INJECTABLE 5 MILLN IU
                                                                      00085012004 Intron      INTRON A INJECTABLE 5 MILLN IU
                                                                      00085012005 Intron      INTRON A INJECTABLE 5 MILLN IU
                                                                      00085053901 Intron      INTRON A INJECTABLE 50MILLN IU
                                                                      00085068901 Intron      INTRON A INJECTION 18 MIU
                                                                      00085092301 Intron      INTRON A SOL FOR INJ 10 MILLI                                                   X
                                                                      00085076901 Intron      INTRON A SOL. FOR INJ. 25MILLN
                                                                      00085095301 Intron      INTRON A SOLUTION 18MIU 3ML
                                                                      00085133601 Proventil   PROVENTIL INHALATION SOLUTION
                                                                      00085020901 Proventil   PROVENTIL SOLUTION .083MG/ML                      X         X                                       X
                                                                      00085180601 Proventil   PROVENTIL SOLUTION .083MG/ML
                                                                      00085020802 Proventil   PROVENTIL SOLUTION 5MG/ML                         X         X                                       X                                                  X
                                                                      00085125901 Temodar     TEMODAR 100MG
                                                                      00085125902 Temodar     TEMODAR 100MG
                                                                      00085124401 Temodar     TEMODAR 20MG
                                                                      00085124402 Temodar     TEMODAR 20MG
                                                                      00085125201 Temodar     TEMODAR 250MG
                                                                      00085125202 Temodar     TEMODAR 250MG
                                                                      00085124801 Temodar     TEMODAR 5MG
                                                                      00085124802 Temodar     TEMODAR 5MG
                                                                                                                         Sources: "Comprehensive Price History File," 2005 Wolters Kluwer Health (Medispan).
                                                                                                                                  Schering Sales Data.
                                                                                                                                  Exhibit 11B - "'ASPs' for Sales to Full Line Wholesalers".
                                                                                                                                  Exhibit 11C - "'Spreads' Based on 'ASPs' for Sales to Full Line Wholesalers and Dr. Hartman's AWPs".
                                                                                                                                  "Attachment I.4: Schering-Plough Drugs Subject to Liability" in "Direct Testimony of Raymond S. Hartman", November 1, 2006.
                                                                                                                                  "Attachment G.4.b: Schering-Plough Annual AWPs" in "Direct Testimony of Raymond S. Hartman", November 1, 2006.
